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                         UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF SOUTH CAROLINA

In re:    RJM WASTE EQUIPMENT                       §     Case No. 07-04276-JW
          COMPANY                                   §
          RJM MANUFACTURING                         §
Debtor(s) COMPANY                                   §

                      NOTICE OF TRUSTEE’S FINAL REPORT AND
                        APPLICATIONS FOR COMPENSATION
                          AND DEADLINE TO OBJECT (NFR)

       Pursuant to Fed. R. Bankr. P. 2002(a)(6) and 2002(f)(8), please take notice that JOHN K
FORT, trustee of the above styled estate, has filed a Final Report and the trustee and the trustee’s
professionals have filed final fee applications, which are summarized in the attached Summary of
Trustee’s Final Report and Applications for Compensation.

        The complete Final Report and all applications for compensation are available for
inspection at the Office of the Clerk, at the following address:

         1100 Laurel Street
         Columbia, SC 29201

        Any person wishing to object to any fee application that has not already been approved or
to the Final Report, must file a written objection within 21 days from the mailing of this notice,
serve a copy of the objections upon the trustee, any party whose application is being challenged
and the United States Trustee. A hearing on the fee applications and any objection to the Final
Report will be held at 2:30 P.M. on FEBRUARY 3, 2011, Donald Stuart Russell Federal
Courthouse, 201 Magnolia Street, Spartanburg, SC 29301. If no objections are filed, upon entry
of an order on the fee applications, the trustee may pay dividends pursuant to FRBP 3009 without
further order of the Court.


Date Mailed: 12/17/2010                       By:       /s/ John K. Fort
                                                        Trustee
                                                        JOHN K FORT
                                                        PO BOX 813
                                                        DRAYTON, SC 29333
                                                        (864) 573-5311




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                                     UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF SOUTH CAROLINA

             In re: RJM WASTE EQUIPMENT COMPANY                                           §       Case No. 07-04276-JW
                                                                                          §
                    RJM MANUFACTURING COMPANY                                             §
        Debtor(s)                                                                         §

                                  SUMMARY OF TRUSTEE'S FINAL REPORT
                                  AND APPLICATIONS FOR COMPENSATION


                    The Final Report shows receipts of                                        $           49,137.65

                    and approved disbursements of                                             $               132.92
                                                          1
                    leaving a balance on hand of                                              $           49,004.73

                                                        Balance on hand:                                  $                49,004.73
              Claims of secured creditors will be paid as follows:

Claim          Claimant                                      Claim Allowed Amount Interim Payments                           Proposed
No.                                                        Asserted       of Claim          to Date                          Payment
  1            GMAC                                        4,333.69                    0.00                   0.00                0.00
  2            Carolina First Bank                         7,652.13                    0.00                   0.00                0.00
 15S-2         Kentucky Department of                      1,053.94                    0.00                   0.00                0.00
               Revenue
 42            GENERAL PURPOSE                             7,696.84                    0.00                   0.00                0.00
               STEEL INC
 48            COMMUNITY SOUTH                          142,110.24                     0.00                   0.00                0.00
               BK AND TRUST
 85            Toyota Motor Credit Corp                   52,418.34                    0.00                   0.00                0.00
 92            NMHG FINANCIAL                             15,609.52                    0.00                   0.00                0.00
               SERVICES
 97            Appalachian Development                    58,675.53                    0.00                   0.00                0.00
               Corporation
 106           Financial Federal Credit Inc.              53,168.88                    0.00                   0.00                0.00
 117           FORT HILL NATURAL                           5,391.27                    0.00                   0.00                0.00
               GAS
 145S          South Carolina Department                   1,209.99                    0.00                   0.00                0.00
               of Reveune

                1 The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
  earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
  receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
  account of the disbursement of the additional interest.

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  149         Wachovia Bank, N.A.               1,337,253.66                0.00                0.00            0.00
  164         FORREST ANDERSON                         981.00               0.00                0.00            0.00
              PLUMBING
  187S        Mississippi State Tax                  7,168.00               0.00                0.00            0.00
              Commission
                                                  Total to be paid to secured creditors:    $                0.00
                                                  Remaining balance:                        $           49,004.73

              Applications for chapter 7 fees and administrative expenses have been filed as follows:
Reason/Applicant                                                Total Requested Interim Payments         Proposed
                                                                                          to Date        Payment
Trustee, Fees - JOHN K FORT                                             5,628.25                0.00        5,628.25
Trustee, Expenses - JOHN K FORT                                         1,054.01                0.00        1,054.01
Accountant for Trustee, Fees - MCABEE, TALBERT,                         1,080.00                0.00        1,080.00
HALLIDAY & CO
Fees, United States Trustee                                             5,000.00                0.00        5,000.00
Other Expenses: RONALD J MCCRACKEN                                   201,000.00                 0.00      36,242.47
                              Total to be paid for chapter 7 administration expenses:       $           49,004.73
                              Remaining balance:                                            $                0.00

              Applications for prior chapter fees and administrative expenses have been filed as follows:
Reason/Applicant                                                Total Requested Interim Payments         Proposed
                                                                                          to Date        Payment
Attorney for D-I-P Fees - G. WILLIAM MCCARTHY, JR                     36,916.25                 0.00            0.00
Attorney for D-I-P Expenses - G. WILLIAM MCCARTHY,                      1,810.32                0.00            0.00
JR
Other Expenses: ARIZONA LOGISTICS, INC                                  6,731.35                0.00            0.00
Other Expenses: CHUCK DAVIS                                             8,900.80                0.00            0.00
Other Expenses: FW INVESTMENTS                                        75,129.12                 0.00            0.00
Other Expenses: GEORGE B. CHANDLER, JR                                  3,000.00                0.00            0.00
Other Expenses: MISSISSIPPI STATE TAX                                 10,440.00                 0.00            0.00
COMMISSION
                              Total to be paid for prior chapter administrative expenses:   $                0.00
                              Remaining balance:                                            $                0.00




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              In addition to the expenses of administration listed above as may be allowed by the
        Court, priority claims totaling $784,271.99 must be paid in advance of any dividend to
        general (unsecured) creditors.
              Allowed priority claims are:
Claim          Claimant                                       Allowed Amount Interim Payments             Proposed
No                                                                   of Claim          to Date            Payment
 10            CITY OF MONTGOMERY                                        967.72                0.00            0.00
 15P-2         Kentucky Department of Revenue                          3,442.88                0.00            0.00
 52            CITY OF TEMPLE, ARIZONA                                35,700.54                0.00            0.00
 77P-2         SMITH PIPE & STEEL COMPANY                           223,434.98                 0.00            0.00
 80P           CHUCK DAVIS                                             9,902.40                0.00            0.00
 90P           NORTH CAROLINA DEPARTMENT OF                           18,009.11                0.00            0.00
               REVENUE
 91            CITY OF BATON ROUGE                                     8,916.00                0.00            0.00
 100P          PPG ARCHITECTURAL FINISHES INC                         25,179.92                0.00            0.00
 101P          ARIZONIA DEPT OF REVENUE                             153,678.51                 0.00            0.00
 104P-3        INTERNAL REVENUE SERVICE                                6,698.56                0.00            0.00
 105P          Florida Department of Revenue                          12,598.44                0.00            0.00
 111           STATE OF ALABAMA                                        1,703.86                0.00            0.00
 112           STATE OF ALABAMA                                          110.14                0.00            0.00
 113           STATE OF ALABAMA                                        1,569.29                0.00            0.00
 115P          TENNESSEE DEPT OF REVENUE                               6,435.71                0.00            0.00
 133           CITY OF MOBILE                                          2,578.97                0.00            0.00
 141P          State of Maine Bureau or Revenue Services               1,076.85                0.00            0.00
 144P          INTERNAL REVENUE SERVICE                             101,809.56                 0.00            0.00
 145P          South Carolina Department of Reveune                   22,174.49                0.00            0.00
 146P          FASTENAL COMPANY                                        4,780.56                0.00            0.00
 156P          GEORGIA, DEPARTMENT OF REVENUE                       122,513.05                 0.00            0.00
 168           BALANCE STAFFING SVC INC                                7,990.45                0.00            0.00
 187P          Mississippi State Tax Commission                       13,000.00                0.00            0.00
                                                 Total to be paid for priority claims:     $                0.00
                                                 Remaining balance:                        $                0.00
              The actual distribution to wage claimants included above, if any, will be the proposed
        payment less applicable withholding taxes (which will be remitted to the appropriate taxing
        authorities).




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            Timely claims of general (unsecured) creditors totaling $ 3,907,340.64 have been allowed and
        will be paid pro rata only after all allowed administrative and priority claims have been paid in full.
        The timely allowed general (unsecured) dividend is anticipated to be 0.0 percent,
        plus interest (if applicable).
              Timely allowed general (unsecured) claims are as follows:
Claim          Claimant                                        Allowed Amount Interim Payments             Proposed
No                                                                    of Claim          to Date            Payment
  3            56 INDUSTRIES INC/Kerry Steel Inc                     511,888.87                0.00               0.00
  4            PRECISION METAL FABRICATORS                                332.50               0.00               0.00
  5            SAFETY SUPPLY SOUTH INC                                     52.63               0.00               0.00
  6            GENERAL TRANSPORTATION SERV IN                           8,500.00               0.00               0.00
  7            PALMETTO STATE LOGISTICS INC                             1,506.24               0.00               0.00
  8            BESL TRANSFER COMPANY                                    4,470.20               0.00               0.00
  9            SPARTAN FILTERING SYSTEMS                                4,548.00               0.00               0.00
 11            METRO ANESTHESIA CONSULTANTS                               900.00               0.00               0.00
 12            SOUTHEASTERN DOCK AND DOOR                                 750.00               0.00               0.00
 13            GOSNELL MENARD BROOKS CPA'S                             21,600.00               0.00               0.00
 14            JC PACIFIC CO INC                                       12,658.50               0.00               0.00
 15U-2         Kentucky Department of Revenue                             380.14               0.00               0.00
 16            XO COMMUNICATIONS INC                                    1,890.72               0.00               0.00
 17            HEALTHPOINT OF NORTH CAROLINA                            1,601.71               0.00               0.00
 18            NU-LIFE ENVIRONMENTAL INC                               71,729.16               0.00               0.00
 19            DESTINATIONS EXPRESS INC                                      0.00              0.00               0.00
 20            The Mason and Dixon Lines                               22,411.00               0.00               0.00
 21            ULINE                                                      356.54               0.00               0.00
 22            SHEBOYGAN PAINT COMPANY                                    689.21               0.00               0.00
 23            ROSENBOOM MACHINE AND TOOL                              22,896.72               0.00               0.00
 24            R AND L CARRIERS INC                                     6,617.36               0.00               0.00
 25            RIGGERS SERVICE INC                                      3,019.00               0.00               0.00
 26            CENTENNIAL STEEL                                        40,826.58               0.00               0.00
 27            JLT ENTERPRISES INC                                     17,338.00               0.00               0.00
 28            ANDERSON TRANS AND LOGISTICS                            28,125.20               0.00               0.00
 29            MOORE TRANSPORTATION INC                                 5,965.00               0.00               0.00
 30            PAULS TEMPE HARDWARE                                     1,022.39               0.00               0.00




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31       CROSS COMPANY                              11,987.02        0.00          0.00
32       MCNAUGHTON MCKAY                           44,819.98        0.00          0.00
33       UNITED ELECTRIC CONTROLS CO                 2,445.59        0.00          0.00
34       CHEETAH TRANSPORTATION                      1,118.00        0.00          0.00
35       ADVANCED RIGGING AND MACH                   1,900.00        0.00          0.00
36       ESTES EXPRESS LINES                          263.71         0.00          0.00
37       MAGNELINK INC                               2,305.00        0.00          0.00
38       WELCO INC                                   1,288.00        0.00          0.00
39       RDJ SERVICES INC                             650.00         0.00          0.00
40 -2    STRATFORD TRANSPORTATION                    1,974.81        0.00          0.00
41       AUSTIN HARDWARE AND SUPPLY                   439.12         0.00          0.00
43       Universal Am-Can Ltd                         750.00         0.00          0.00
44       MESA MACHINERY SALES LLC                     159.59         0.00          0.00
45       COFFEY AND SONS INC                         1,775.00        0.00          0.00
46       ALLEN-ORTON LLC                             8,640.76        0.00          0.00
47       M-COR STEEL INC                           194,282.57        0.00          0.00
49       COMBINED UTILITIES                          2,794.91        0.00          0.00
50       DISCOUNT SWEEPING                           1,011.00        0.00          0.00
51       BEELINE INC                                  625.00         0.00          0.00
53       RAMSEUR TRUCKING                           28,903.00        0.00          0.00
54       HYDRAULIC AND PNEUMATIC                     4,208.27        0.00          0.00
55       AQUA CHILL INC NO 4                          227.01         0.00          0.00
56       WOLF TECHNOLOGY GROUP                        367.50         0.00          0.00
57       DIPPLE PLUMBING INC                          300.68         0.00          0.00
58       PRECISION METAL FABRICATORS                  332.50         0.00          0.00
59       AURORA MANAGEMENT PARTNERS                 19,397.15        0.00          0.00
60       THOM MARTIN                                 3,421.09        0.00          0.00
61       RELIANCE STEEL AND ALUMINUM                41,503.03        0.00          0.00
62       ROYAL INDEMNITY CO                         44,587.13        0.00          0.00
63       WESTERN EXPRESS INC                         8,475.00        0.00          0.00
64       BDI                                         3,365.55        0.00          0.00
65       RAMSEY WELDING SUPPLY INC                   2,525.36        0.00          0.00
66       EMS INC                                    61,826.88        0.00          0.00




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67       THE CONNECTICUT LIGHT AND                    300.00         0.00          0.00
         POWER COMPANY
68       CONTAINER COMPONENTS INC                   49,578.88        0.00          0.00
69       ALG LABELS AND GRAPHICS                      130.45         0.00          0.00
70       GREATAMERICA LEASING                        7,052.66        0.00          0.00
         CORPORATION
71       FACILITY SUPPORT SERVICES LLC               4,502.33        0.00          0.00
72       GLOBENET METALS LLC                        44,376.06        0.00          0.00
73       FALVEY LINEN AND UNIFORM                        0.00        0.00          0.00
74       ELECTRICAL WHOLESALERS INC                  1,487.26        0.00          0.00
75       FALVEY LINEN AND UNIFORM                     494.54         0.00          0.00
76       BALANCE STAFFING SVC INC                        0.00        0.00          0.00
77U-2    SMITH PIPE & STEEL COMPANY                 23,702.04        0.00          0.00
78       SOUTHERN METALS                            20,063.04        0.00          0.00
79       MARION DAVIS INC                            2,836.20        0.00          0.00
81       JSJ LLC                                     1,692.87        0.00          0.00
82       HANDLING SYSTEMS INC                       15,173.00        0.00          0.00
83       SOUTH ATLANTIC STEEL INC                   15,934.27        0.00          0.00
84       NAMASCO                                    12,209.15        0.00          0.00
86       AUSTIN HARDWARE AND SUPPLY                   439.12         0.00          0.00
87       USS HOLDINGS LLC                            1,784.72        0.00          0.00
88       MACSTEEL SERVICE CENTERS                   16,149.31        0.00          0.00
89       SHEBOYGAN PAINT COMPANY                     3,863.75        0.00          0.00
90U      NORTH CAROLINA DEPARTMENT OF               16,431.74        0.00          0.00
         REVENUE
93       NMHG FINANCIAL SERVICES                    15,645.90        0.00          0.00
94       BULLDOG NATIONAL LOGISTICS LLC              2,225.00        0.00          0.00
95       WARDLAW TRUCKING INC                       12,350.00        0.00          0.00
96       SCREEN ART ADVERTISING INC                  3,449.02        0.00          0.00
98       BUDDY MOORE TRUCKING                        1,490.00        0.00          0.00
99       PIEDMONT FORKLIFT INC                       5,359.34        0.00          0.00
100U     PPG ARCHITECTURAL FINISHES INC             29,352.95        0.00          0.00
101U     ARIZONIA DEPT OF REVENUE                   21,591.32        0.00          0.00
102      AMERICAN EAGLE STEEL CORP                  61,782.74        0.00          0.00




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103      ALLEN BROWNING                                  550.00         0.00          0.00
104U-3   INTERNAL REVENUE SERVICE                        890.95         0.00          0.00
105U     Florida Department of Revenue                  1,663.03        0.00          0.00
107      FORT HILL NATURAL GAS                          2,160.67        0.00          0.00
108      EAGLE BRIDGES CO INC                           3,528.75        0.00          0.00
109      4PLEX LOGISTICS LLC                           20,463.10        0.00          0.00
110      STATE OF LOUISIANA                             1,069.88        0.00          0.00
114      FEDEX CUSTOMER INFORMATION                      429.38         0.00          0.00
         SERVICE
115U     TENNESSEE DEPT OF REVENUE                       763.21         0.00          0.00
116      AMERICAN JANITORIAL SUPPLY                      848.00         0.00          0.00
118      TOYOTALIFE OF ARIZONIA                         1,962.24        0.00          0.00
119      HARTFORD FIRE INSURANCE                       23,902.64        0.00          0.00
         COMPANY
120      LAWSON STEEL INC                              73,279.06        0.00          0.00
121      Sprint Bankruptcy                               722.55         0.00          0.00
122      CAR INDUSTIES OF GEORGIA II,LLC.                192.50         0.00          0.00
123      THE PERMITE CORPORATION                       19,663.54        0.00          0.00
124      Toyota Motor Credit Corp                      18,955.93        0.00          0.00
125      Toyota Motor Credit Corp                       4,246.48        0.00          0.00
126      Toyota Motor Credit Corp                      36,591.77        0.00          0.00
127      Toyota Motor Credit Corp                      20,800.90        0.00          0.00
128      SOUTHEAST INDUSTRIAL EQUIPMENT                  816.58         0.00          0.00
129      GREENVILLE OFFICE SUPPLY                       1,588.86        0.00          0.00
130      Howard Steel Inc.                             10,519.90        0.00          0.00
131      PRT                                           73,996.98        0.00          0.00
132      MID WEST MATERIALS, INC.                     337,781.86        0.00          0.00
134      FALVEY LINEN AND UNIFORM                           0.00        0.00          0.00
135      NUVOX COMMUNICATIONS                            552.22         0.00          0.00
136      NUVOX COMMUNICATIONS                            395.34         0.00          0.00
137      MKS SERVICES LLC                              18,275.00        0.00          0.00
138      AIRGAS                                        23,374.34        0.00          0.00
139      FERRELLGAS                                     2,465.60        0.00          0.00
140      COMEQ INC                                      2,360.84        0.00          0.00




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141U     State of Maine Bureau or Revenue Services       177.00         0.00          0.00
142      SOULE BLAKE AND WECHSLER INC                  12,377.14        0.00          0.00
143      Grinding, Equipment, & Tooling, Inc.           4,733.00        0.00          0.00
144U     INTERNAL REVENUE SERVICE                        890.95         0.00          0.00
145U     South Carolina Department of Reveune           1,503.12        0.00          0.00
146U     FASTENAL COMPANY                              12,456.05        0.00          0.00
147      TIM GENTRY                                         0.00        0.00          0.00
148      Greater Bay Capital, a division of Greater   102,597.30        0.00          0.00
         Bay Ban
150      ADVANCE STEEL CO                              68,123.25        0.00          0.00
151      VORTEX INDUSTRIES INC                          1,734.77        0.00          0.00
152      PRIMARY STEEL TULARE DIVISION                 19,517.26        0.00          0.00
153      WAUSAU BUSINESS INSURANCE                          0.00        0.00          0.00
         COMPANY
154      CERTIFIED STEEL COMPANY                      287,175.56        0.00          0.00
155      FW INVESTMENTS                               118,514.08        0.00          0.00
156U     GEORGIA, DEPARTMENT OF REVENUE                22,064.12        0.00          0.00
157      SUMMIT HANDLING SYSTEMS INC                     410.06         0.00          0.00
158      EASTERN CHEM-LAC CORPORATION                  46,084.46        0.00          0.00
159      VALLEY GAS AND GEAR LLC                       32,374.69        0.00          0.00
160      TRANS-SYSTEM LOGISTICS LLC                     2,950.00        0.00          0.00
161      KEY EQUIPMENT FINANCE                        125,934.23        0.00          0.00
162      GRIFFIN AND GORDON CONTAINERS                202,517.65        0.00          0.00
         COMPANY LLC
163      MID AMERICAN STEEL                           110,825.37        0.00          0.00
165      MCNAUGHTON MCKAY                              44,819.98        0.00          0.00
166      GENERAL TRANSPORTATION SERV IN                 8,500.00        0.00          0.00
167      ANDERSON TRANS AND LOGISTICS                  28,125.20        0.00          0.00
169      ULINE                                           356.54         0.00          0.00
170      SOUTH ATLANTIC STEEL INC                      15,934.27        0.00          0.00
171      CONNECTICUT DEPARTMENT OF                    123,672.68        0.00          0.00
         REVENUE SERVICES
172      RAMSEY WELDING SUPPLY INC                      2,525.36        0.00          0.00
173      ROSENBOOM MACHINE AND TOOL                    22,896.72        0.00          0.00




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 174           USS HOLDINGS LLC                                           1,156.21              0.00              0.00
 175           RDJ SERVICES INC                                            650.00               0.00              0.00
 176           COMBINED UTILITIES                                         2,294.91              0.00              0.00
 178           HODGE PRODUCTS INC                                         5,718.95              0.00              0.00
 179           STATE OF ALABAMA                                               0.00              0.00              0.00
 180           CITY OF TEMPE                                          47,664.62                 0.00              0.00
 181           MYLES TRUCKING INC                                         2,500.00              0.00              0.00
 182           GEORGE B CHANDLER                                              0.00              0.00              0.00
 183           CHARLES CLARK                                          10,000.00                 0.00              0.00
 184           ALLEN-ORTON LLC                                            9,478.66              0.00              0.00
 185           MACSTEEL SERVICE CENTERS                               16,149.31                 0.00              0.00
 186           CASA FIRE PROTECTION INC                                    210.53               0.00              0.00
 187U          Mississippi State Tax Commission                           4,721.00              0.00              0.00
                             Total to be paid for timely general unsecured claims:          $                  0.00
                             Remaining balance:                                             $                  0.00


            Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been
        allowed and will be paid pro rata only after all allowed administrative, priority and timely filed
        general (unsecured) claims have been paid in full. The tardily filed claim dividend is anticipated
        to be 0.0 percent, plus interest (if applicable).

               Tardily filed general (unsecured) claims are as follows:
Claim          Claimant                                        Allowed Amount Interim Payments               Proposed
No                                                                    of Claim          to Date              Payment
                                                        None
                             Total to be paid for tardy general unsecured claims:           $                  0.00
                             Remaining balance:                                             $                  0.00




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             Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
        ordered subordinated by the Court totaling $ 0.00 have been allowed and will be paid
        pro rata only after all allowed administrative, priority and general (unsecured) claims have been paid
        in full. The dividend for subordinated unsecured claims is anticipated to be 0.0 percent,
        plus interest (if applicable).
              Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
        ordered subordinated by the Court are as follows:
Claim          Claimant                                          Allowed Amount Interim Payments                Proposed
No                                                                      of Claim          to Date               Payment
                                                          None
                                                   Total to be paid for subordinated claims: $                     0.00
                                                   Remaining balance:                        $                     0.00




                                                Prepared By: /s/JOHN K FORT
                                                                                          Trustee

             JOHN K FORT
             PO BOX 813
             DRAYTON, SC 29333
             (864) 573-5311



             STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
             Act exemption 5 C.F.R.§1320.4(a)(2) applies.




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                                           UNITED STATES BANKRUPTCY COURT
                                             DISTRICT OF SOUTH CAROLINA

              In re: RJM WASTE EQUIPMENT COMPANY                                              § Case No. 07-04276-JW
                                                                                              §
                     RJM MANUFACTURING COMPANY                                                §
        Debtor(s)                                                                             §

                                             TRUSTEE'S FINAL REPORT (TFR)

                The undersigned trustee hereby makes this Final Report and states as follows:

               1. A petition under Chapter 11 of the United States Bankruptcy Code
       was filed on August 08, 2007. The case was converted to one under Chapter 7 on December 13,
       2007. The undersigned trustee was appointed on December 19, 2007.


                 2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.


                3. All scheduled and known assets of the estate have been reduced to cash, released to
       the debtor as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned
       pursuant to 11 U.S.C. § 554. An individual estate property record and report showing the
       disposition of all property of the estate is attached as Exhibit A.




                 4. The trustee realized the gross receipts of                    $             49,137.65

                                    Funds were disbursed in the following amounts:

                                    Payments made under an
                                      interim distribution                                            0.00
                                    Administrative expenses                                         132.92
                                    Other payments to creditors                                       0.00
                                    Non-estate funds paid to 3rd Parties                              0.00
                                    Exemptions paid to the debtor                                      0.00
                                    Other payments to the debtor                                       0.00
                                                                        1
                                    Leaving a balance on hand of                  $             49,004.73
       The remaining funds are available for distribution.




              1 The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
account of the disbursement of the additional interest.

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                  5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank
       account.
               6. The deadline for filing non-governmental claims in this case was 04/28/2008
       and the deadline for filing governmental claims was 04/28/2008. All claims of each class
       which will receive a distribution have been examined and any objections to the allowance
       of claims have been resolved. If applicable, a claims analysis, explaining why payment on any
       claim is not being made, is attached as Exhibit C .

                  7. The Trustee's proposed distribution is attached as Exhibit D .


               8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
       $5,628.25. To the extent that additional interest is earned before case closing, the maximum
       compensation may increase.

               The trustee has received $0.00 as interim compensation and now requests the
       sum of $5,628.25, for a total compensation of $5,628.25. 2In addition, the trustee
       received reimbursement for reasonable and necessary expenses in the amount of $0.00
       and now requests reimbursement for expenses of $1,054.01, for total expenses of
                 2
       $1,054.01.

               Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
       foregoing report is true and correct.

       Date: 11/30/2010                   By:/s/JOHN K FORT
                                             Trustee




       STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
       Act exemption 5 C.F.R. §1320.4(a)(2) applies.




            2 If the estate is administratively insolvent, the dollar amounts reflected in this paragraph
may be higher than the amounts listed in the Trustee's Proposed Distribution (Exhibit D)

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                                     Individual Estate Property Record and Report
                                                      Asset Cases
Case Number: 07-04276-JW                                                  Trustee:         (600020)    JOHN K FORT
Case Name:      RJM WASTE EQUIPMENT COMPANY                               Filed (f) or Converted (c): 12/13/07 (c)
                                                                          §341(a) Meeting Date:        01/29/08
Period Ending: 11/29/10                                                   Claims Bar Date:             04/28/08

                           1                               2                         3                      4              5                   6

                    Asset Description                    Petition/          Estimated Net Value         Property      Sale/Funds          Asset Fully
         (Scheduled And Unscheduled (u) Property)      Unscheduled     (Value Determined By Trustee,   Abandoned      Received by      Administered (FA)/
                                                          Values          Less Liens, Exemptions,      OA=§554(a)      the Estate       Gross Value of
Ref. #                                                                        and Other Costs)         DA=§554(c)                      Remaining Assets

 1       VOID                                                   0.00                          0.00        DA                    0.00                    FA
          AMENDED. SEE ASSET #14.

 2       VOID                                                   0.00                          0.00        DA                    0.00                    FA
          AMENDED. SEE ASSET #15.

 3       VOID                                                   0.00                          0.00        DA                    0.00                    FA
          AMENDED. SEE ASSET #20

 4       OTHER CONTINGENT & UNLIQUIDATED CLAIMS            12,508.00                     12,508.00        DA                    0.00                    FA
          HMB STEEL - SEIZURE OF CK - 5/18/07.
         UNCOLLECTIBLE.

 5       OTHER CONTINGENT & UNLIQUIDATED CLAIMS           227,572.00                          0.00                              0.00                    FA
          WACHOVIA - SEIZURE OF A/R. SEE ASSET #43.

 6       OTHER CONTINGENT & UNLIQUIDATED CLAIMS           216,745.00                          0.00                              0.00                    FA
          WACHOVIA - NSF CHARGES - 1/05 TO 4/07. SEE
         ASSET #43.

 7       OTHER CONTINGENT & UNLIQUIDATED CLAIMS             3,906.00                          0.00                              0.00                    FA
          WACHOVIA - SERVICE FEES - 5/9/07. SEE
         ASSET #43.

 8       COPYRIGHT - MIGHTY MAC TRADEMARK                       1.00                          1.00        DA                    0.00                    FA

 9       VEHICLES - SEE LIST ATTACHED AS B-29               2,500.00                          0.00        OA                    0.00                    FA

10       OFFICE EQUIPMENT - SEE LIST ATTACHED AS            8,500.00                          0.00        OA                    0.00                    FA
         B-29

11       MACHINERY, FIXTURES, AND BUSINESS                329,650.00                          0.00        OA                    0.00                    FA
         EQUIPMENT

12       INVENTORY                                        303,344.00                          0.00        OA                    0.00                    FA

13       BANK OF AMERICA                                        0.00                          0.00        DA                    0.00                    FA

14       SECURITY DEPOSITS                                 28,126.00                          0.00        DA                    0.00                    FA
          OFFSET BY VENDORS

15       ACCOUNTS RECEIVABLE                              721,303.00                          0.00        OA                    0.00                    FA

16       LIQUIDATED DEBTS OWING DEBTOR                     16,952.00                     16,952.00        DA                    0.00                    FA
          COMMERCIAL COLLECTION CORP -
         COLLECTED A DEBT FOR RJM BUT FAILED TO
         REMIT THE BALANCE. UNCOLLECTIBLE.


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                                     Individual Estate Property Record and Report
                                                      Asset Cases
Case Number: 07-04276-JW                                                 Trustee:        (600020)     JOHN K FORT
Case Name:       RJM WASTE EQUIPMENT COMPANY                             Filed (f) or Converted (c): 12/13/07 (c)
                                                                         §341(a) Meeting Date:        01/29/08
Period Ending: 11/29/10                                                  Claims Bar Date:             04/28/08

                           1                              2                         3                      4              5                   6

                    Asset Description                   Petition/          Estimated Net Value         Property      Sale/Funds          Asset Fully
         (Scheduled And Unscheduled (u) Property)     Unscheduled     (Value Determined By Trustee,   Abandoned      Received by      Administered (FA)/
                                                         Values          Less Liens, Exemptions,      OA=§554(a)      the Estate       Gross Value of
Ref. #                                                                       and Other Costs)         DA=§554(c)                      Remaining Assets

17       LIQUIDATED DEBTS OWING DEBTOR                     1,698.00                     1,698.00         DA                    0.00                    FA
           MIDAMERICAN STEEL - OVERPAYMENT FOR
         COD DELIVERY. UNCOLLECTIBLE.

18       LIQUIDATED DEBTS OWING DEBTOR                     3,000.00                     3,000.00                           2,300.00                    FA
           NATIONAL WELDERS SUPPLY

19       VOID                                                  0.00                        0.00          DA                    0.00                    FA
           DUPLICATE OF ASSET #4

20       RJM WASTE EQUIPMENT COMPANY VS ROBERT           301,588.00                 301,588.00           DA                    0.00                    FA
         BRENT
           2007-CP-39-1125 IN PICKENS COURT OF
         COMMON PLEAS. NO CHANCE OF COLLECTING.

21       VOID                                                  0.00                        0.00          DA                    0.00                    FA
           DUPLICATE OF ASSET #6

22       VOID                                                  0.00                        0.00          DA                    0.00                    FA
           DUPLICATE OF ASSET #5

23       VOID                                                  0.00                        0.00          DA                    0.00                    FA
           DUPLICATE OF ASSET #7

24       VOID                                                  0.00                        0.00          DA                    0.00                    FA
           DUPLICATE OF ASSET #8

25       VOID                                                  0.00                        0.00          DA                    0.00                    FA
           DUPLICATE OF ASSET #9

26       VOID                                                  0.00                        0.00          DA                    0.00                    FA
           DUPLICATE OF ASSET #10

27       VOID                                                  0.00                        0.00          DA                    0.00                    FA
           DUPLICATE OF ASSET #11

28       VOID                                                  0.00                        0.00          DA                    0.00                    FA
           DUPLICATE OF ASSET #12

29       WEBSITE: WWW.RJMMFG.COM                               0.00                        0.00          DA                    0.00                    FA

30       OTHER CONTINGENT & UNLIQUIDATED CLAIMS            Unknown                         0.00          DA                    0.00                    FA
         (u)
           BRENT AND KIM BRYSON - BRENT INVOLVED IN
         EMBEZZLEMENT. KIM POSSIBLE CLAIM:
         ALLEGEDLY RECEIVED AND USED PROCEEDS


                                                                                                                    Printed: 12/13/2010 05:11 PM    V.12.54
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                                     Individual Estate Property Record and Report
                                                      Asset Cases
Case Number: 07-04276-JW                                                Trustee:       (600020)      JOHN K FORT
Case Name:       RJM WASTE EQUIPMENT COMPANY                            Filed (f) or Converted (c): 12/13/07 (c)
                                                                        §341(a) Meeting Date:        01/29/08
Period Ending: 11/29/10                                                 Claims Bar Date:             04/28/08

                           1                              2                        3                      4              5                   6

                    Asset Description                   Petition/         Estimated Net Value         Property      Sale/Funds          Asset Fully
         (Scheduled And Unscheduled (u) Property)     Unscheduled    (Value Determined By Trustee,   Abandoned      Received by      Administered (FA)/
                                                         Values         Less Liens, Exemptions,      OA=§554(a)      the Estate       Gross Value of
Ref. #                                                                      and Other Costs)         DA=§554(c)                      Remaining Assets

31       OTHER CONTINGENT & UNLIQUIDATED CLAIMS            Unknown                       0.00           DA                    0.00                    FA
         (u)
           CALVARY HILL BAPTIST CHURCH - MAY HAVE
         RECEIVED PROCEEDS FROM EMBEZZLEMENT

32       OTHER CONTINGENT & UNLIQUIDATED CLAIMS            Unknown                       0.00           DA                    0.00                    FA
         (u)
           CORNERSTONE BANK - RECEIVED WIRE
         TRANSFERS INVOLVED IN EMBEZZLEMENT

33       OTHER CONTINGENT & UNLIQUIDATED CLAIMS            Unknown                       0.00           DA                    0.00                    FA
         (u)
           WACHOVIA BANK - TRANSFERRED AND
         RECEIVED WIRES INVOLVED IN EMBEZZLEMENT.
         SEE ASSET #43.

34       OTHER CONTINGENT & UNLIQUIDATED CLAIMS            Unknown                       0.00           DA                    0.00                    FA
         (u)
           WACHOVIA BANK - LIQUIDATION OF OVER 225K
         OF RJM DEPOSITS ON OR ABOUT 4/30/07. SEE
         ASSET #43.

35       OTHER CONTINGENT & UNLIQUIDATED CLAIMS            Unknown                       0.00           DA                    0.00                    FA
         (u)
           GOSNELL MENARD & BROOKS CPAS, PA -
         OUTSIDE INDEPENDENT AUDITORS - PROVIDED
         AUDIT SERVICES TO RJM FOR YEARS 2003-2006

36       OTHER CONTINGENT & UNLIQUIDATED CLAIMS            Unknown                       0.00           DA                    0.00                    FA
         (u)
           ISLAND FOREST ENTERPRISES, LLC - OUTSIDE
         CONSULTANTS - PROVIDED COMPREHENSIVE
         CONSULTING SERVICES, BUDGETS, CASH
         MANAGEMENT TO RJM

37       OTHER CONTINGENT & UNLIQUIDATED CLAIMS            Unknown                       0.00           DA                    0.00                    FA
         (u)
           GLASSRATNER ADVISORY & CAPITAL GROUP,
         LLC - OUTSIDE CONSULTANTS-PROVIDED
         COMPREHENSIVE CONSULTING SERVICES,
         BUTGETS, CASH MANAGEMENT TO RJM



                                                                                                                   Printed: 12/13/2010 05:11 PM    V.12.54
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                                        Individual Estate Property Record and Report
                                                         Asset Cases
Case Number: 07-04276-JW                                                      Trustee:         (600020)    JOHN K FORT
Case Name:          RJM WASTE EQUIPMENT COMPANY                               Filed (f) or Converted (c): 12/13/07 (c)
                                                                              §341(a) Meeting Date:        01/29/08
Period Ending: 11/29/10                                                       Claims Bar Date:             04/28/08

                              1                                2                         3                      4              5                   6

                    Asset Description                       Petition/           Estimated Net Value         Property      Sale/Funds          Asset Fully
         (Scheduled And Unscheduled (u) Property)         Unscheduled      (Value Determined By Trustee,   Abandoned      Received by      Administered (FA)/
                                                             Values           Less Liens, Exemptions,      OA=§554(a)      the Estate       Gross Value of
Ref. #                                                                            and Other Costs)         DA=§554(c)                      Remaining Assets

38       OTHER CONTINGENT & UNLIQUIDATED CLAIMS                Unknown                            0.00        DA                    0.00                     FA
         (u)
           AURORA MANAGEMENT PARTNERS - OUTSIDE
         CONSULTANTS-PROVIDED RJM
         COMPREHENSIVE CONSULTING SERVICES,
         BUDGETS, CASH MANAGEMENT FROM 9/7/06 TO
         10/11/06

39       OTHER CONTINGENT & UNLIQUIDATED CLAIMS                Unknown                            0.00        DA                    0.00                     FA
         (u)
           EXECUTIVE SOUNDING BOARD ASOCIATES
         INC-OUTSIDE CONSULTANTS-PROVIDED
         COMPREHENSIVE CONSULTING SERVICES,
         BUDGETS, CASH MANAGEMENT TO RJM

40       OTHER CONTINGENT & UNLIQUIDATED CLAIMS                Unknown                            0.00        DA                    0.00                     FA
         (u)
           LIGHTHOUSE FINANCIAL CORP - FIELD
         AUDITORS EXAMINED RJM'S INVENTORY,
         RECEIVABLES, BOOKS AND RECORDS FROM
         2003 TO 2005, EVERY 60-90 DAYS

41       OTHER CONTINGENT & UNLIQUIDATED CLAIMS                Unknown                            0.00        DA                    0.00                     FA
         (u)
           WELLS FARGO BUSINESS CREDIT - FIELD
         AUDITORS EXAMINED RJM'S INVENTORY,
         RECEIVABLE, BOOKS AND RECORDS FROM 2005
         TO 2008, EVERY 60-90 DAYS

42       MISC REFUNDS (u)                                      Unknown                        9,315.11                          9,670.29                     FA
           REFUND ON UNEARNED INS. PREMIUMS

43       SETTLEMENTS (u)                                       Unknown                       10,000.00                         10,000.00                     FA
           SETTLEMENT PER ORDER DATED 12/2008
         BETWEEN DEBTOR'S PRINCIPAL, WACHOVIA AND
         TRUSTEE. ASSETS # 5, 6, 7, 33 & 34.

44       PREFERENCE/FRAUDULENT TRANSFER (u)                    Unknown                       27,113.54                         27,113.54                     FA
           SMITH PIPE AND STEEL

 Int     INTEREST (u)                                          Unknown                            N/A                              53.82                Unknown

 45      Assets       Totals (Excluding unknown values)    $2,177,393.00                 $382,175.65                          $49,137.65                  $0.00


                                                                                                                         Printed: 12/13/2010 05:11 PM     V.12.54
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                                        Individual Estate Property Record and Report
                                                         Asset Cases
Case Number: 07-04276-JW                                                   Trustee:       (600020)      JOHN K FORT
Case Name:       RJM WASTE EQUIPMENT COMPANY                               Filed (f) or Converted (c): 12/13/07 (c)
                                                                           §341(a) Meeting Date:        01/29/08
Period Ending: 11/29/10                                                    Claims Bar Date:             04/28/08

                             1                                2                       3                      4              5                   6

                    Asset Description                       Petition/        Estimated Net Value         Property      Sale/Funds          Asset Fully
         (Scheduled And Unscheduled (u) Property)         Unscheduled   (Value Determined By Trustee,   Abandoned      Received by      Administered (FA)/
                                                             Values        Less Liens, Exemptions,      OA=§554(a)      the Estate       Gross Value of
Ref. #                                                                         and Other Costs)         DA=§554(c)                      Remaining Assets



     Major Activities Affecting Case Closing:

                7/1/08
                THIS CASE WAS CONVERTED FROM CH 11. IN THE CH 11, THE NORTHERN PLANT WAS SOLD AND THE PROCEEDS PAID TO THE MAJOR SECURED
                CREDITOR. THE TRUSTEE TALKED TO ALL OF THE SECURED CREDITORS EARLY AFTER BEING APPOINTED. IT WAS CLEAR THAT MORE WAS OWED
                ON THE EQUIPMENT THAN IT WAS WORTH. THERE WAS A BUYER FOR THE AZ PLANT BUT SINCE NONE OF THE CREDITORS WOULD AGREE TO A
                CARVE OUT, THERE WAS NOT BENEFIT TO THE ESTATE. AT THE 341 MEETING, THE TRUSTEE ABANDONED ALL "HARD" ASSETS AND DECIDED TO
                FOCUS ON THE CAUSES OF ACTION. SOME PREFERENCE ACTIONS HAVE BEEN IDENTIFIED. DISCUSSIONS HAVE BEGUN WITH AN ATTORNEY TO FILE
                AN ACTION AGAINST THE ACCOUNTANT FOR NOT DISCOVERING MONEY HAD BEEN EMBEZZLED. THERE IS ALSO A POTENTIAL ACTION AGAINST ONE
                OF THE BANKS FOR EXCESS FEES.


                7/1/09
                IN DECEMBER 2008, A SETTLEMENT WAS REACHED BETWEEN THE TRUSTEE, WACHOVIA AND DEBTOR'S PRINCIPAL. A FRAUDULENT TRANSFER WAS
                RECOVERED FROM A CREDITOR THAT FILED A MOTION FOR APPROVAL OF AN ADMINISTRATIVE CLAIM. THE ONLY CLAIM LISTED THAT SEEMS TO
                HAVE VALUE IS THE ONE AGAINST THE CPAS BUT W. POWELL REVIEWED AND SAID NOT TO PURSUE. THE PRINCIPAL NOW STANDS IN THE SHOES OF
                WACHOVIA AND HAS HAD THEIR CLAIM ASSIGNED TO HIM. STANDING IN THE SHOES OF WACHOVIA, THE PRINCIAL DEMANDED RETURN OF THE
                INSURANCE REFUNDS AS A GENERAL INTANGILBE UNDER THEIR SECURITY AGREEMENT. AN AGREEMENT HAS BEEN REACHED AND NOTICED
                WHERE BY THE ESTATE KEEPS THE REFUND AND ALL UNADMINISTERED ASSETS ARE ASSIGNED TO THE PRINCIPAL. TRUSTEE WILL APPOINT AN
                ACCOUNTANT TO PREPARE TAX RETURNS AND POC WILL BE REVIEWED. TRUSTEE WILL MOVE TO CLOSE ONCE SETTLEMENT ORDER IS ENTERED
                AND TAX RETURNS ARE FILED.


                7/1/10
                THE SETTLEMENT ORDER HAS BEEN ENTERED. ALL ASSETS HAVE BEEN ADMINISTERED OR ABANDONED. ACCOUNTANT EMPLOYED AND TAX
                RETURNS FILED. TRUSTEE IS IN THE PROCESS OF REVIEWING CLAIMS WHICH ARE NUMEROUS. OBJECTIONS WILL BE FILED IF NECESSARY. IF A
                CLAIMS ORDER IS EXPTECTED, TRUSTEE WILL MOVE TO CLOSE ONCE IT IS ENTERED.


                11/29/10
                UPON FINAL REVIEW OF THE POC, THE TRUSTEE DETERMINED THAT THE CLAIM OF WELLS FARGO PER THE FINAL ORDER AUTHORIZING DEBTOR TO
                OBTAIN POST-PETITION FINANCING FILED ON SEPTEMBER 13, 2007 IS A SUPERPRIORITY CLAIM WHICH HAS PRIORITY OVER ALL CLAIMS EXCEPT FOR
                THE CHAPTER 7 ADMIN CLAIMS. THE CLAIM WAS ASSIGNEDTO THE PRINCIPAL OF THE DEBTOR, RONALD MCCRACKEN, FROM WELLS FARGO ON
                JUNE 10, 2009. DOCUMENTATION WAS OBTAINED FROM MR. MCCRACKEN INDICATES THAT THE CLAIM AMOUNT IS APPROX. $201,000.00. THIS
                DOCUMENTATION WILL BE FILED WITH THE TRUSTEE'S FINAL REPORT AS AN EXHIBIT. THIS CLAIM WILL EXHAUST THE REMAINING FUNDS. ALL
                ASSETS HAVE BEEN ABANDONED OR ADMINISTERED. TRUSTEE IS MOVING TO CLOSE.




                                                                                                                      Printed: 12/13/2010 05:11 PM    V.12.54
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                                         Individual Estate Property Record and Report
                                                          Asset Cases
Case Number: 07-04276-JW                                                       Trustee:       (600020)      JOHN K FORT
Case Name:       RJM WASTE EQUIPMENT COMPANY                                   Filed (f) or Converted (c): 12/13/07 (c)
                                                                               §341(a) Meeting Date:        01/29/08
Period Ending: 11/29/10                                                        Claims Bar Date:             04/28/08

                              1                                     2                     3                       4                    5                   6

                    Asset Description                           Petition/        Estimated Net Value          Property            Sale/Funds          Asset Fully
         (Scheduled And Unscheduled (u) Property)             Unscheduled   (Value Determined By Trustee,    Abandoned            Received by      Administered (FA)/
                                                                 Values        Less Liens, Exemptions,       OA=§554(a)            the Estate       Gross Value of
Ref. #                                                                             and Other Costs)          DA=§554(c)                            Remaining Assets

     Initial Projected Date Of Final Report (TFR):   December 31, 2009           Current Projected Date Of Final Report (TFR):       November 30, 2010




                                                                                                                                 Printed: 12/13/2010 05:11 PM    V.12.54
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                                                        Cash Receipts And Disbursements Record
Case Number:           07-04276-JW                                                               Trustee:            JOHN K FORT (600020)
Case Name:             RJM WASTE EQUIPMENT COMPANY                                               Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                 Account:            ***-*****79-65 - Money Market Account
Taxpayer ID #:         **-***0296                                                                Blanket Bond:       $2,000,000.00 (per case limit)
Period Ending: 11/29/10                                                                          Separate Bond: N/A

    1            2                           3                                      4                                            5                    6                   7

 Trans.     {Ref #} /                                                                                                        Receipts          Disbursements         Money Market
  Date      Check #             Paid To / Received From             Description of Transaction              T-Code              $                    $              Account Balance
07/07/08       {18}          NATIONAL WELDERS                DEPOSIT REFUND                                 1129-000              2,300.00                                    2,300.00
07/31/08         Int         JPMORGAN CHASE BANK, N.A.       Interest posting at 0.1500%                    1270-000                    0.21                                  2,300.21
08/19/08       {42}          WAUSAU                          REFUND FROM INSURANCE PREMIUM                  1221-000              3,635.11                                    5,935.32
08/29/08         Int         JPMORGAN CHASE BANK, N.A.       Interest posting at 0.1500%                    1270-000                    0.40                                  5,935.72
09/30/08         Int         JPMORGAN CHASE BANK, N.A.       Interest posting at 0.1500%                    1270-000                    0.77                                  5,936.49
10/02/08       {42}          LEO A DRYER, ATTORNEY AT        REFUND OF UNEARNED INSURANCE                   1221-000              5,680.00                                 11,616.49
                             LAW                             PREMIUM
10/30/08       {44}          SMITH PIPE & STEEL              SETTLEMENT ON PREFERENCE.                      1241-000             27,133.54                                 38,750.03
10/31/08         Int         JPMORGAN CHASE BANK, N.A.       Interest posting at 0.1200%                    1270-000                    1.15                               38,751.18
10/31/08       {44}          SMITH PIPE AND STEEL            CORRECT ERROR IN DEPOSIT AMOUNT                1241-000                  -20.00                               38,731.18
11/28/08         Int         JPMORGAN CHASE BANK, N.A.       Interest posting at 0.1000%                    1270-000                    2.86                               38,734.04
12/31/08         Int         JPMORGAN CHASE BANK, N.A.       Interest posting at 0.0500%                    1270-000                    2.74                               38,736.78
01/21/09       {42}          SUIST, MOORE, SMYTHE &          REIMBURSEMENT OF EXPENSES TO FILE              1221-002                  355.18                               39,091.96
                             MCGEE, PA                       AND SERVE NOTICE
01/30/09         Int         JPMORGAN CHASE BANK, N.A.       Interest posting at 0.0500%                    1270-000                    1.58                               39,093.54
02/09/09       {43}          RONALD J MCCRACKEN              SETTLEMENT OF ALL CLAIMS PER ORDER             1249-000             10,000.00                                 49,093.54
                                                             DATED 12/2008.
02/26/09      1001           JOHN K. FORT, TRUSTEE           BOND PREMIUM PAYMENT ON LEDGER                 2300-000                                        77.86          49,015.68
                                                             BALANCE AS OF 02/26/2009 FOR CASE
                                                             #07-04276
02/27/09         Int         JPMORGAN CHASE BANK, N.A.       Interest posting at 0.0500%                    1270-000                    1.71                               49,017.39
03/31/09         Int         JPMORGAN CHASE BANK, N.A.       Interest posting at 0.0500%                    1270-000                    2.13                               49,019.52
04/30/09         Int         JPMORGAN CHASE BANK, N.A.       Interest posting at 0.0500%                    1270-000                    2.00                               49,021.52
05/29/09         Int         JPMORGAN CHASE BANK, N.A.       Interest posting at 0.0500%                    1270-000                    1.93                               49,023.45
06/30/09         Int         JPMORGAN CHASE BANK, N.A.       Interest posting at 0.0500%                    1270-000                    2.13                               49,025.58
07/31/09         Int         JPMORGAN CHASE BANK, N.A.       Interest posting at 0.0500%                    1270-000                    2.06                               49,027.64
08/31/09         Int         JPMORGAN CHASE BANK, N.A.       Interest posting at 0.0500%                    1270-000                    2.06                               49,029.70
09/30/09         Int         JPMORGAN CHASE BANK, N.A.       Interest posting at 0.0500%                    1270-000                    2.00                               49,031.70
10/30/09         Int         JPMORGAN CHASE BANK, N.A.       Interest posting at 0.0500%                    1270-000                    2.00                               49,033.70
11/30/09         Int         JPMORGAN CHASE BANK, N.A.       Interest posting at 0.0500%                    1270-000                    2.06                               49,035.76
12/31/09         Int         JPMORGAN CHASE BANK, N.A.       Interest posting at 0.0500%                    1270-000                    2.06                               49,037.82
01/29/10         Int         JPMORGAN CHASE BANK, N.A.       Interest posting at 0.0500%                    1270-000                    1.93                               49,039.75
02/18/10      1002           JOHN K. FORT, TRUSTEE           BOND PREMIUM PAYMENT ON LEDGER                 2300-000                                        55.06          48,984.69
                                                             BALANCE AS OF 12/31/2009 FOR CASE
                                                             #07-04276
02/26/10         Int         JPMORGAN CHASE BANK, N.A.       Interest posting at 0.0500%                    1270-000                    1.86                               48,986.55
03/02/10         Int         JPMORGAN CHASE BANK, N.A.       Current Interest Rate is 0.0500%               1270-000                    0.19                               48,986.74
03/02/10                     Wire out to BNYM account        Wire out to BNYM account 9200******7965        9999-000            -48,986.74                                        0.00
                                                                                                  Subtotals :                        $132.92              $132.92
{} Asset reference(s)                                                                                                                      Printed: 12/13/2010 05:11 PM        V.12.54
             Case 07-04276-jw                     Doc 278    Filed 12/17/10 Entered 12/17/10 15:20:09                                          Desc Main
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                                                                         Form 2                                                                                        Page: 2

                                                   Cash Receipts And Disbursements Record
Case Number:         07-04276-JW                                                          Trustee:            JOHN K FORT (600020)
Case Name:           RJM WASTE EQUIPMENT COMPANY                                          Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                          Account:            ***-*****79-65 - Money Market Account
Taxpayer ID #:       **-***0296                                                           Blanket Bond:       $2,000,000.00 (per case limit)
Period Ending: 11/29/10                                                                   Separate Bond: N/A

    1            2                          3                              4                                              5                    6                   7

 Trans.     {Ref #} /                                                                                                 Receipts         Disbursements          Money Market
  Date      Check #           Paid To / Received From        Description of Transaction              T-Code              $                   $               Account Balance
                           9200******7965

                                                                         ACCOUNT TOTALS                                       132.92                132.92               $0.00
                                                                                Less: Bank Transfers                     -48,986.74                   0.00
                                                                         Subtotal                                         49,119.66                 132.92
                                                                                Less: Payments to Debtors                                             0.00
                                                                         NET Receipts / Disbursements                    $49,119.66                $132.92




{} Asset reference(s)                                                                                                              Printed: 12/13/2010 05:11 PM         V.12.54
             Case 07-04276-jw                            Doc 278      Filed 12/17/10 Entered 12/17/10 15:20:09                                                Desc Main
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                                                                                        Form 2                                                                                       Page: 3

                                                         Cash Receipts And Disbursements Record
Case Number:           07-04276-JW                                                                       Trustee:            JOHN K FORT (600020)
Case Name:             RJM WASTE EQUIPMENT COMPANY                                                       Bank Name:          The Bank of New York Mellon
                                                                                                         Account:            9200-******79-65 - Money Market Account
Taxpayer ID #:         **-***0296                                                                        Blanket Bond:       $2,000,000.00 (per case limit)
Period Ending: 11/29/10                                                                                  Separate Bond: N/A

    1            2                            3                                           4                                              5                    6                  7

 Trans.     {Ref #} /                                                                                                                Receipts         Disbursements        Money Market
  Date      Check #             Paid To / Received From                 Description of Transaction                  T-Code              $                   $             Account Balance
03/02/10                     Wire in from JPMorgan Chase Bank,   Wire in from JPMorgan Chase Bank, N.A.             9999-000             48,986.74                               48,986.74
                             N.A. account ********7965           account ********7965
03/31/10         Int         The Bank of New York Mellon         Interest posting at 0.0700%                        1270-000                   2.81                              48,989.55
04/30/10         Int         The Bank of New York Mellon         Interest posting at 0.0700%                        1270-000                   2.82                              48,992.37
05/28/10         Int         The Bank of New York Mellon         Interest posting at 0.0700%                        1270-000                   2.91                              48,995.28
06/30/10         Int         The Bank of New York Mellon         Interest posting at 0.0700%                        1270-000                   2.82                              48,998.10
07/30/10         Int         The Bank of New York Mellon         Interest posting at 0.0700%                        1270-000                   2.91                              49,001.01
08/31/10         Int         The Bank of New York Mellon         Interest posting at 0.0700%                        1270-000                   2.91                              49,003.92
09/30/10         Int         The Bank of New York Mellon         Interest posting at 0.0100%                        1270-000                   0.40                              49,004.32
10/29/10         Int         The Bank of New York Mellon         Interest posting at 0.0100%                        1270-000                   0.41                              49,004.73

                                                                                        ACCOUNT TOTALS                                   49,004.73                 0.00         $49,004.73
                                                                                               Less: Bank Transfers                      48,986.74                 0.00
                                                                                        Subtotal                                              17.99                0.00
                                                                                               Less: Payments to Debtors                                           0.00
                                                                                        NET Receipts / Disbursements                         $17.99               $0.00




{} Asset reference(s)                                                                                                                             Printed: 12/13/2010 05:11 PM        V.12.54
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                                                   Cash Receipts And Disbursements Record
Case Number:         07-04276-JW                                                                Trustee:            JOHN K FORT (600020)
Case Name:           RJM WASTE EQUIPMENT COMPANY                                                Bank Name:          The Bank of New York Mellon
                                                                                                Account:            9200-******79-66 - Checking Account
Taxpayer ID #:       **-***0296                                                                 Blanket Bond:       $2,000,000.00 (per case limit)
Period Ending: 11/29/10                                                                         Separate Bond: N/A

    1            2                          3                                    4                                              5                    6                   7

 Trans.     {Ref #} /                                                                                                       Receipts        Disbursements             Checking
  Date      Check #           Paid To / Received From              Description of Transaction              T-Code              $                  $                Account Balance

   (No Transactions on File for this Period)                                   ACCOUNT TOTALS                                        0.00                   0.00               $0.00
                                                                                      Less: Bank Transfers                           0.00                   0.00
                                                                               Subtotal                                              0.00                   0.00
                                                                                      Less: Payments to Debtors                                             0.00
                                                                               NET Receipts / Disbursements                         $0.00                  $0.00

                           Net Receipts :             49,137.65
        Less Other Noncompensable Items :                355.18                                                                   Net             Net                     Account
                                                  ————————                     TOTAL - ALL ACCOUNTS                             Receipts     Disbursements                Balances
                                   Net Estate :      $48,782.47
                                                                               MMA # ***-*****79-65                             49,119.66                 132.92                 0.00
                                                                               MMA # 9200-******79-65                               17.99                   0.00          49,004.73
                                                                               Checking # 9200-******79-66                           0.00                   0.00                 0.00

                                                                                                                               $49,137.65                $132.92         $49,004.73




{} Asset reference(s)                                                                                                                    Printed: 12/13/2010 05:11 PM         V.12.54
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                                                  EXHIBIT C
                                           ANALYSIS OF CLAIMS REGISTER                       Claims Bar Date: April 28, 2008

Case Number: 07-04276-JW                                     Page: 1                                     Date: December 13, 2010
Debtor Name: RJM WASTE EQUIPMENT COMPANY                                                                 Time: 05:12:43 PM
Claim #   Creditor Name & Address            Claim Type     Claim Ref. No. / Notes   Amount Allowed       Paid to Date   Claim Balance

          JOHN K FORT                        Admin Ch. 7                                     $5,628.25           $0.00        5,628.25
200       PO BOX 813
          DRAYTON, SC 29333
          JOHN K FORT                        Admin Ch. 7                                     $1,054.01           $0.00        1,054.01
200       PO BOX 813
          DRAYTON, SC 29333
          MCABEE, TALBERT, HALLIDAY & CO     Admin Ch. 7                                     $1,080.00           $0.00        1,080.00
200       824 E MAIN STREET
          SPARTANBURG, SC 29302
177       U. S. Trustee                      Admin Ch. 7                                     $5,000.00           $0.00        5,000.00
200       1835 Assembly St. Room 953
          Columbia, SC 29201
          RONALD J MCCRACKEN                 Admin Ch. 7                                 $201,000.00             $0.00      201,000.00
210       C/O CHARLES P SUMMERAL                            PER FINAL ORDER AUTHORIZING DEBTOR TO OBTAIN POST-PETITION
          PO BOX 999                                        FINANCING FILED ON SEPTEMBER 13, 2007. CLAIM ASSIGNED FROM WELLS
          CHARLESTON, SC 29402-0999                         FARGO BANK TO RONALD J. MCCRACKEN ON JUNE 10, 2009.
                                                            DOCUMENTATION OF THE CLAIM IS ATTACHED TO THE TRUSTEE'S FINAL
                                                            REPORT AS AN EXHIBIT.



          G. WILLIAM MCCARTHY, JR            Admin Ch. 11                                   $36,916.25           $0.00       36,916.25
300       MCCARTHY LAW FIRM, LLC                            PER ORDER DATED FEBRUARY 13, 2008.
          PO BOX 11332
          COLUMBIA, SC 29211

          G. WILLIAM MCCARTHY, JR            Admin Ch. 11                                    $1,810.32           $0.00        1,810.32
300       MCCARTHY LAW FIRM, LLC                            PER ORDER DATED FEBRUARY 13, 2008
          PO BOX 11332
          COLUMBIA, SC 29211
          FW INVESTMENTS                     Admin Ch. 11                                   $75,129.12           $0.00       75,129.12
300       C/O SEANN GRAY TZOUVELEKAS                        PER ORDER DATED MAY 28, 2008.
          PO BOX 87
          GREENVILLE, SC 29602
          ARIZONA LOGISTICS, INC             Admin Ch. 11                                    $6,731.35           $0.00        6,731.35
300       C/O SEANN GRAY TZOUVELEKAS                        FOR LOGISTICAL SUPPORT PER ORDER DATED OCTOBER 6, 2008.
          PO BOX 87
          GREENVILLE, SC 29602

80W       CHUCK DAVIS                        Admin Ch. 11                                    $8,900.80           $0.00        8,900.80
300       6490-4 STONEY VIEW LANE
          SIMI VALLEY, CA 93063-6425                        CH 11 WAGES


CH11ADMI GEORGE B. CHANDLER, JR              Admin Ch. 11                                    $3,000.00           $0.00        3,000.00
300       212 LATHAM TERRACE
          EASLEY, SC 29640-8302                             FOR 3 WEEKS VACATION AVAILABLE THE WEEK OF 10/21/07 @ $1,000.00 PER
                                                            WEEK.
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                                               ANALYSIS OF CLAIMS REGISTER                      Claims Bar Date: April 28, 2008

Case Number: 07-04276-JW                                          Page: 2                                   Date: December 13, 2010
Debtor Name: RJM WASTE EQUIPMENT COMPANY                                                                    Time: 05:12:43 PM
Claim #   Creditor Name & Address                 Claim Type     Claim Ref. No. / Notes   Amount Allowed     Paid to Date   Claim Balance

MSADMIN MISSISSIPPI STATE TAX COMMISSION          Admin Ch. 11                                 $10,440.00           $0.00       10,440.00
T         PO BOX 22828
300       JACKSON, MS 39225-2828


77P-2     SMITH PIPE & STEEL COMPANY              Priority                                    $223,434.98           $0.00      223,434.98
505       DELTA STEEL LP
          ATTN CONNIE SCHOTT,PO BOX 2289
          HOUSTON, TX 77252-2289
146P      FASTENAL COMPANY                        Priority                                      $4,780.56           $0.00        4,780.56
505       ATTN LEGAL
          PO BOX 978
          WINONA, MN 55987-0978
168       BALANCE STAFFING SVC INC                Priority                                      $7,990.45           $0.00        7,990.45
505       6261 NW 6TH WY #206
          FT LAUDERDALE, FL 33309-6103

80P       CHUCK DAVIS                             Priority                                      $9,902.40           $0.00        9,902.40
510       6490-4 STONEY VIEW LANE
          SIMI VALLEY, CA 93063-6425                             PRIORITY WAGES


10        CITY OF MONTGOMERY                      Priority                                       $967.72            $0.00          967.72
570       REVENUE DIVISION
          PO BOX 1111
          MONTGOMERY, AL 36101-1111
15P-2     Kentucky Department of Revenue          Priority                                      $3,442.88           $0.00        3,442.88
570       Legal Branch-Bankruptcy Section
          Attn: Leanne Warren,PO Box 5222
          Frankfort, KY 40602

52        CITY OF TEMPLE, ARIZONA                 Priority                                     $35,700.54           $0.00       35,700.54
570       31 EAST 5TH ST
          TEMPLE, AZ 85281

90P       NORTH CAROLINA DEPARTMENT OF            Priority                                     $18,009.11           $0.00       18,009.11
570       REVENUE
          ANGELA C FOUNTAIN BANKRUPTCY MANAGER,
          RALEIGH, NC 27602-1168
91        CITY OF BATON ROUGE                     Priority                                      $8,916.00           $0.00        8,916.00
570       REVENUE DIVISION
          PO BOX 2590
          BATON ROUGE, LA 70821-2590

100P      PPG ARCHITECTURAL FINISHES INC          Priority                                     $25,179.92           $0.00       25,179.92
570       1595 EAST SAN BERNARDINO AVE
          SAN BERNARDINO, CA 92408-2946

101P      ARIZONIA DEPT OF REVENUE                Priority                                    $153,678.51           $0.00      153,678.51
570       COLLECTIONS DIVISION
          1600 WEST MONROE ST
          PHOENIX, AR 85007
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                                                  ANALYSIS OF CLAIMS REGISTER                     Claims Bar Date: April 28, 2008

Case Number: 07-04276-JW                                            Page: 3                                   Date: December 13, 2010
Debtor Name: RJM WASTE EQUIPMENT COMPANY                                                                      Time: 05:12:43 PM
Claim #   Creditor Name & Address                     Claim Type   Claim Ref. No. / Notes   Amount Allowed     Paid to Date   Claim Balance

104P-3    INTERNAL REVENUE SERVICE                    Priority                                    $6,698.56           $0.00        6,698.56
570       MDP 39
          1835 ASSEMBLY ST RM 469
          COLUMBIA, SC 29201

105P      Florida Department of Revenue               Priority                                   $12,598.44           $0.00       12,598.44
570       Attention Bankruptcy Section
          Post Office Box 6668
          Tallahassee, FL 32314-6668

111       STATE OF ALABAMA                            Priority                                    $1,703.86           $0.00        1,703.86
570       DEPARTMENT OF REVENUE
          LEGAL SERVICES,PO BOX 320001
          MONTGOMERY, AL 36132-0001
112       STATE OF ALABAMA                            Priority                                     $110.14            $0.00          110.14
570       DEPARTMENT OF REVENUE
          LEGAL SERVICES,PO BOX 320001
          MONTGOMERY, AL 36132-0001

113       STATE OF ALABAMA                            Priority                                    $1,569.29           $0.00        1,569.29
570       DEPARTMENT OF REVENUE
          LEGAL SERVICES,PO BOX 320001
          MONTGOMERY, AL 36132-0001
115P      TENNESSEE DEPT OF REVENUE                   Priority                                    $6,435.71           $0.00        6,435.71
570       c/o TN ATTORNEY GENERAL'S OFFICE
          BANKRUPTCY DIVISION,PO BOX 20207
          NASHVILLE, TN 37202-0207
133       CITY OF MOBILE                              Priority                                    $2,578.97           $0.00        2,578.97
570       FLORENCE A KESSLER
          CITY ATTORNEY,PO BOX 1827
          MOBILE, AL 36633

141P      State of Maine Bureau or Revenue Services   Priority                                    $1,076.85           $0.00        1,076.85
570       Compliance Division
          PO Box 9101
          Augusta, ME 04333-9101
144P      INTERNAL REVENUE SERVICE                    Priority                                  $101,809.56           $0.00      101,809.56
570       MDP 39
          1835 ASSEMBLY ST RM 469
          COLUMBIA, SC 29201

145P      South Carolina Department of Reveune        Priority                                   $22,174.49           $0.00       22,174.49
570       PO Box 12265
          Columbia, SC 29211

156P      GEORGIA, DEPARTMENT OF REVENUE              Priority                                  $122,513.05           $0.00      122,513.05
570       COMPLIANCE DIV-BANKRUPTCY SECT
          PO BOX 161108
          ATLANTA, GA 30321-1108
187P      Mississippi State Tax Commission            Priority                                   $13,000.00           $0.00       13,000.00
570       Bankruptcy Section
          Post Office Box 22808
          Jackson, MS 39225-2808
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Case Number: 07-04276-JW                                             Page: 4                                  Date: December 13, 2010
Debtor Name: RJM WASTE EQUIPMENT COMPANY                                                                      Time: 05:12:43 PM
Claim #   Creditor Name & Address                      Claim Type   Claim Ref. No. / Notes   Amount Allowed    Paid to Date   Claim Balance

1         GMAC                                         Secured                                        $0.00           $0.00            0.00
100       P.O. Box 130424
          Roseville, MN 55113
2         Carolina First Bank                          Secured                                        $0.00           $0.00            0.00
100       Attn: Roanne Jacobsen
          PO Box 1029
          Greenville, SC 29602
15S-2     Kentucky Department of Revenue               Secured                                        $0.00           $0.00            0.00
100       Legal Branch-Bankruptcy Section
          Attn: Leanne Warren,PO Box 5222
          Frankfort, KY 40602
42        GENERAL PURPOSE STEEL INC                    Secured                                        $0.00           $0.00            0.00
100       505 BRADDOCK AVENUE
          TURTLE CREEK, PA 15145-3200

48        COMMUNITY SOUTH BK AND TRUST                 Secured                                        $0.00           $0.00            0.00
100       ATTN TOM HALE
          PO BOX 2849
85        Toyota Motor Credit Corp                     Secured                                        $0.00           $0.00            0.00
100       19001 S. Western Ave. WF-21
          Torrance, CA 90509
92        NMHG FINANCIAL SERVICES                      Secured                                        $0.00           $0.00            0.00
100       1010 THOMAS EDISON BLVD DW
          CEDAR RAPIDS, IA 52404
97        Appalachian Development Corporation          Secured                                        $0.00           $0.00            0.00
100       c/o Dana M. Lahey,Roe Cassidy Coates &
          Price, PA,PO Box 10529
          Greenville, SC 29603
106       Financial Federal Credit Inc.                Secured                                        $0.00           $0.00            0.00
100       1300 Post Oak Blvd., Suite 1300
          Houston, TX 77056
117       FORT HILL NATURAL GAS                        Secured                                        $0.00           $0.00            0.00
100       PO BOX 189
          EASLEY, SC 29641-0189

145S      South Carolina Department of Reveune         Secured                                        $0.00           $0.00            0.00
100       PO Box 12265
          Columbia, SC 29211

149       Wachovia Bank, N.A.                          Secured                                        $0.00           $0.00            0.00
100       c/o Kiah T Ford IV,Parker Poe Adams &
          Bernstein LLP,401 S. Tryon Street, Suite
          Charlotte, NC 28202

164       FORREST ANDERSON PLUMBING                    Secured                                        $0.00           $0.00            0.00
100       1725 WILLIAMS DRIVE SUITE 9
          PHOENIZ, AZ 85027-1341
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                                                       EXHIBIT C
                                                ANALYSIS OF CLAIMS REGISTER                    Claims Bar Date: April 28, 2008

Case Number: 07-04276-JW                                         Page: 5                                   Date: December 13, 2010
Debtor Name: RJM WASTE EQUIPMENT COMPANY                                                                   Time: 05:12:43 PM
Claim #   Creditor Name & Address                  Claim Type   Claim Ref. No. / Notes   Amount Allowed     Paid to Date   Claim Balance

187S      Mississippi State Tax Commission         Secured                                         $0.00           $0.00            0.00
100       Bankruptcy Section
          Post Office Box 22808
          Jackson, MS 39225-2808

3         56 INDUSTRIES INC/Kerry Steel Inc        Unsecured                                 $511,888.87           $0.00      511,888.87
610       3173 Northwestern Hwy
          Farmington Hills, MI 48334
4         PRECISION METAL FABRICATORS              Unsecured                                    $332.50            $0.00          332.50
610       PO BOX 441
          WILLISTON, SC 29853-0441

5         SAFETY SUPPLY SOUTH INC                  Unsecured                                     $52.63            $0.00           52.63
610       PO BOX 1013
          IRMO, SC 29063-1013
6         GENERAL TRANSPORTATION SERV IN           Unsecured                                   $8,500.00           $0.00        8,500.00
610       PO BOX 3853
          PORTLAND, OR 97208-3853

7         PALMETTO STATE LOGISTICS INC             Unsecured                                   $1,506.24           $0.00        1,506.24
610       1050 PARK WEST BLVD
          GREENVILLE, SC 29611-6124

8         BESL TRANSFER COMPANY                    Unsecured                                   $4,470.20           $0.00        4,470.20
610       5700 ESTE AVENUE
          CINCINNATI, OH 45232-1435
9         SPARTAN FILTERING SYSTEMS                Unsecured                                   $4,548.00           $0.00        4,548.00
610       727 BRYANT ROAD
          SPARTANBURG, SC 29303-5002
11        METRO ANESTHESIA CONSULTANTS             Unsecured                                    $900.00            $0.00          900.00
610       PO BOX 80042
          CITY OF INDUSTRY, CA 91716-8042

12        SOUTHEASTERN DOCK AND DOOR               Unsecured                                    $750.00            $0.00          750.00
610       667 PERIMETER ROAD
          GREENVILLE, SC 29605-5452

13        GOSNELL MENARD BROOKS CPA'S              Unsecured                                  $21,600.00           $0.00       21,600.00
610       PO BOX 1726
          SPARTANBURG, SC 29304-1726

14        JC PACIFIC CO INC                        Unsecured                                  $12,658.50           $0.00       12,658.50
610       45-53 E BIGELOW ST
          NEWARK, NJ 07114-1625

15U-2     Kentucky Department of Revenue           Unsecured                                    $380.14            $0.00          380.14
610       Legal Branch-Bankruptcy Section
          Attn: Leanne Warren,PO Box 5222
          Frankfort, KY 40602

16        XO COMMUNICATIONS INC                    Unsecured                                   $1,890.72           $0.00        1,890.72
610       ATTN BRAD LEE
          105 MOLLOY ST SUITE 300
          NASHVILLE, TX 37201
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                                                  EXHIBIT C
                                           ANALYSIS OF CLAIMS REGISTER                    Claims Bar Date: April 28, 2008

Case Number: 07-04276-JW                                    Page: 6                                   Date: December 13, 2010
Debtor Name: RJM WASTE EQUIPMENT COMPANY                                                              Time: 05:12:43 PM
Claim #   Creditor Name & Address             Claim Type   Claim Ref. No. / Notes   Amount Allowed     Paid to Date   Claim Balance

17        HEALTHPOINT OF NORTH CAROLINA       Unsecured                                   $1,601.71           $0.00        1,601.71
610       DBA HART INDUSTRIAL CLINIC
          2850 TATE BLVD SE
          HICKORY, NC 28602-1450

18        NU-LIFE ENVIRONMENTAL INC           Unsecured                                  $71,729.16           $0.00       71,729.16
610       PO BOX 12547
          COLUMBIA, SC 29211-2547
19        DESTINATIONS EXPRESS INC            Unsecured                                      $0.00            $0.00            0.00
610       PO BOX 4863
          Montgomery, AL 36103-4863

20        The Mason and Dixon Lines           Unsecured                                  $22,411.00           $0.00       22,411.00
610       12755 East Nine Mile Road
          Warren, MI 48089
21        ULINE                               Unsecured                                    $356.54            $0.00          356.54
610       2200 S LAKESIDE DR
          WAUKEGAN, IL 60085-8311

22        SHEBOYGAN PAINT COMPANY             Unsecured                                    $689.21            $0.00          689.21
610       PO BOX 417
          SHEBOYGAN, WI 53082

23        ROSENBOOM MACHINE AND TOOL          Unsecured                                  $22,896.72           $0.00       22,896.72
610       PO BOX 408
          BOWLING GREEN, OH 43402-0408
24        R AND L CARRIERS INC                Unsecured                                   $6,617.36           $0.00        6,617.36
610       PO Box 922
          Wilmington, OH 45177
25        RIGGERS SERVICE INC                 Unsecured                                   $3,019.00           $0.00        3,019.00
610       PO BOX 8493
          GREENVILLE, SC 29604-8493

26        CENTENNIAL STEEL                    Unsecured                                  $40,826.58           $0.00       40,826.58
610       4848 S SANTA FE AVE
          VERNON, CA 90058

27        JLT ENTERPRISES INC                 Unsecured                                  $17,338.00           $0.00       17,338.00
610       650 HENDERSON
          PMB 771
          CARTERSVILLE, GA 30120-3744

28        ANDERSON TRANS AND LOGISTICS        Unsecured                                  $28,125.20           $0.00       28,125.20
610       3300-D NORTH MAIN STREET
          PMB 343
          ANDERSON, SC 29621-4128
29        MOORE TRANSPORTATION INC            Unsecured                                   $5,965.00           $0.00        5,965.00
610       2929 BLUE CLAY ROAD
          CASTLE HAYNE, NC 28429-6203
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Debtor Name: RJM WASTE EQUIPMENT COMPANY                                                             Time: 05:12:43 PM
Claim #   Creditor Name & Address            Claim Type   Claim Ref. No. / Notes   Amount Allowed     Paid to Date   Claim Balance

30        PAULS TEMPE HARDWARE               Unsecured                                   $1,022.39           $0.00        1,022.39
610       2845 N SCOTTSDALE ROAD
          SCOTTSDALE, AZ 85257-1350
31        CROSS COMPANY                      Unsecured                                  $11,987.02           $0.00       11,987.02
610       PO BOX 18508
          GREENSBORO NC 27419 -8508
32        MCNAUGHTON MCKAY                   Unsecured                                  $44,819.98           $0.00       44,819.98
610       PO BOX 890976
          CHARLOTTE, NC 28289-0976

33        UNITED ELECTRIC CONTROLS CO        Unsecured                                   $2,445.59           $0.00        2,445.59
610       PO BOX 9143
          WATERTOWN, MA 02471-9143
34        CHEETAH TRANSPORTATION             Unsecured                                   $1,118.00           $0.00        1,118.00
610       378 WILLIAMSON ROAD
          MOORESVILLE, NC 28117-5935

35        ADVANCED RIGGING AND MACH          Unsecured                                   $1,900.00           $0.00        1,900.00
610       MOVERS LLC
          PO BOX 8298
          GREENVILLE, SC 29604-8298
36        ESTES EXPRESS LINES                Unsecured                                    $263.71            $0.00          263.71
610       PO BOX 25612
          RICHMOND, VA 23260-5612
37        MAGNELINK INC                      Unsecured                                   $2,305.00           $0.00        2,305.00
610       1060 NE 25TH AVENUE
          SUITE C
          HILLSBORO, OR 97124-4903

38        WELCO INC                          Unsecured                                   $1,288.00           $0.00        1,288.00
610       402 ANSEL STREET
          GREENVILLE, SC 29601-3408

39        RDJ SERVICES INC                   Unsecured                                    $650.00            $0.00          650.00
610       4471 WEST BRIDGESTONE DR
          CEDAR HILLS, UT 84062-7723

40 -2     STRATFORD TRANSPORTATION           Unsecured                                   $1,974.81           $0.00        1,974.81
610       SERVICES INC
          PO BOX 55141
          PHOENIX, AZ 85078-5141

41        AUSTIN HARDWARE AND SUPPLY         Unsecured                                    $439.12            $0.00          439.12
610       PO BOX 887
          LEES SUMMIT, MO 64063-0887

43        Universal Am-Can Ltd               Unsecured                                    $750.00            $0.00          750.00
610       12755 East Nine Mile Road
          Warren, MI 48089
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Claim #   Creditor Name & Address           Claim Type   Claim Ref. No. / Notes   Amount Allowed     Paid to Date   Claim Balance

44        MESA MACHINERY SALES LLC          Unsecured                                    $159.59            $0.00          159.59
610       952 E BASELINE ROAD
          SUITE A-105
          MESA, AZ 85204-6627

45        COFFEY AND SONS INC               Unsecured                                   $1,775.00           $0.00        1,775.00
610       7760 WOODLAND HILLS ROAD
          HICKORY, NC 28602-8620
46        ALLEN-ORTON LLC                   Unsecured                                   $8,640.76           $0.00        8,640.76
610       PO BOX 102643
          ATLANTA, GA 30368-2643

47        M-COR STEEL INC                   Unsecured                                 $194,282.57           $0.00      194,282.57
610       1900 SLEEPY HOLLOW ROAD
          SOUTH PARK, PA 15129-9111
49        COMBINED UTILITIES                Unsecured                                   $2,794.91           $0.00        2,794.91
610       PO BOX 619
          EASLEY, SC 29641-0619

50        DISCOUNT SWEEPING                 Unsecured                                   $1,011.00           $0.00        1,011.00
610       1833 EAST BASELINE RD NO 181
          GILBERT, AZ 85233-1545

51        BEELINE INC                       Unsecured                                    $625.00            $0.00          625.00
610       109 MARSHA LANE
          ANDERSON, SC 29625-4922
53        RAMSEUR TRUCKING                  Unsecured                                  $28,903.00           $0.00       28,903.00
610       PO BOX 3097
          HICKORY, NC 28603-3097
54        HYDRAULIC AND PNEUMATIC           Unsecured                                   $4,208.27           $0.00        4,208.27
610       SALES INC
          PO BOX 410587
          CHARLOTTE, NC 28241-0587
55        AQUA CHILL INC NO 4               Unsecured                                    $227.01            $0.00          227.01
610       PO BOX 24719
          TEMPE, AZ 85285-4719

56        WOLF TECHNOLOGY GROUP             Unsecured                                    $367.50            $0.00          367.50
610       PO BOX 291228
          COLUMBIA, SC 29229-0021

57        DIPPLE PLUMBING INC               Unsecured                                    $300.68            $0.00          300.68
610       PO BOX 201
          GREENVILLE, SC 29602-0201

58        PRECISION METAL FABRICATORS       Unsecured                                    $332.50            $0.00          332.50
610       PO BOX 441
          WILLISTON, SC 29853-0441

59        AURORA MANAGEMENT PARTNERS        Unsecured                                  $19,397.15           $0.00       19,397.15
610       4485 TENCH ROAD STE 340A
          ATLANTA, GA 30024-6738
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60        THOM MARTIN                          Unsecured                                   $3,421.09           $0.00        3,421.09
610       7 LADBROOKE COURT
          GREENVILLE, SC 29615-2821
61        RELIANCE STEEL AND ALUMINUM          Unsecured                                  $41,503.03           $0.00       41,503.03
610       ATTN ACCOUNTS REC
          301 SOUTH 26TH STREET
          PHOENIX, AZ 85034-2688
62        ROYAL INDEMNITY CO                   Unsecured                                  $44,587.13           $0.00       44,587.13
610       SUCCESSOR IN INTEREST TO,ROYAL
          INSURANCE CO OF AMERICA,LEO A DRYER ESQ,
          COLUMBIA, SC 29211-1567
63        WESTERN EXPRESS INC                  Unsecured                                   $8,475.00           $0.00        8,475.00
610       PO BOX 306035
          NASHVILLE, TN 37230-6035

64        BDI                                  Unsecured                                   $3,365.55           $0.00        3,365.55
610       ATTN ANDREA MOELLER
          PO BOX 936
          WATERLOO, IA 50704
65        RAMSEY WELDING SUPPLY INC            Unsecured                                   $2,525.36           $0.00        2,525.36
610       6805 N 55TH AVENUE
          GLENDALE, AZ 85301-3303
66        EMS INC                              Unsecured                                  $61,826.88           $0.00       61,826.88
610       1345 SOUTH PARKSIDE PLACE
          ONTARIO, CA 91761-4556
67        THE CONNECTICUT LIGHT AND POWER      Unsecured                                    $300.00            $0.00          300.00
610       COMPANY
          NORTHEAST UTILITIES,CREDIT AND
          COLLECTIONS CENTER,PO BOX 2899
          HARTFORD, CT 06101-8307
68        CONTAINER COMPONENTS INC             Unsecured                                  $49,578.88           $0.00       49,578.88
610       PO BOX 79376
          CITY OF INDUSTY, CA 91716-9376
69        ALG LABELS AND GRAPHICS              Unsecured                                    $130.45            $0.00          130.45
610       PO BOX 2671
          BIRMINGHAM, AL 35202-2671

70        GREATAMERICA LEASING                 Unsecured                                   $7,052.66           $0.00        7,052.66
610       CORPORATION
          PO BOX 609
          CEDAR RAPIDS, IA 52406

71        FACILITY SUPPORT SERVICES LLC        Unsecured                                   $4,502.33           $0.00        4,502.33
610       2685 STATE STREET
          HAMDEN, CT 06517-2225

72        GLOBENET METALS LLC                  Unsecured                                  $44,376.06           $0.00       44,376.06
610       C/O COFACE NORTH AMERICA INC
          50 MILLSTONE RD BLDG 100 STE 360
          EAST WINDSOR, NJ 08520
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73        FALVEY LINEN AND UNIFORM           Unsecured                                      $0.00            $0.00            0.00
610       SUPPLY OFCT
          88 TOLLAND STREET
          EAST HARTORD, CT 06108-3437

74        ELECTRICAL WHOLESALERS INC         Unsecured                                   $1,487.26           $0.00        1,487.26
610       151 WALNUT STREET
          HARTFORD, CT 06120-2890
75        FALVEY LINEN AND UNIFORM           Unsecured                                    $494.54            $0.00          494.54
610       SUPPLY OFCT
          88 TOLLAND STREET
          EAST HARTORD, CT 06108-3437
76        BALANCE STAFFING SVC INC           Unsecured                                      $0.00            $0.00            0.00
610       6261 NW 6TH WY #206
          FT LAUDERDALE, FL 33309-6103

77U-2     SMITH PIPE & STEEL COMPANY         Unsecured                                  $23,702.04           $0.00       23,702.04
610       DELTA STEEL LP
          ATTN CONNIE SCHOTT,PO BOX 2289
          HOUSTON, TX 77252-2289
78        SOUTHERN METALS                    Unsecured                                  $20,063.04           $0.00       20,063.04
610       12900 PRESTON ROAD
          NO 1110
          DALLAS, TX 75230-1329
79        MARION DAVIS INC                   Unsecured                                   $2,836.20           $0.00        2,836.20
610       PO BOX 2429
          EASLEY, SC 29641-2429

81        JSJ LLC                            Unsecured                                   $1,692.87           $0.00        1,692.87
610       948 COUNTY ROAD 39
          HEADLAND, AL 36345-7016
82        HANDLING SYSTEMS INC               Unsecured                                  $15,173.00           $0.00       15,173.00
610       2659 E MAGNOLIA STREET
          PHOENIX, AZ 85034-6923
83        SOUTH ATLANTIC STEEL INC           Unsecured                                  $15,934.27           $0.00       15,934.27
610       5862 FARINGDON PL STE 2
          RALEIGH, NC 27609-3931

84        NAMASCO                            Unsecured                                  $12,209.15           $0.00       12,209.15
610       3775 NAMASCO CT
          SUWANEE, GA 30024

86        AUSTIN HARDWARE AND SUPPLY         Unsecured                                    $439.12            $0.00          439.12
610       PO BOX 887
          LEES SUMMIT, MO 64063-0887

87        USS HOLDINGS LLC                   Unsecured                                   $1,784.72           $0.00        1,784.72
610       110 LAURENS ROAD
          GREENVILLE, SC 29607-1826
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88        MACSTEEL SERVICE CENTERS           Unsecured                                  $16,149.31           $0.00       16,149.31
610       ATTN TIM AUSTIN
          PO BOX 164-67
          CHARLOTTE, NC 28297-6467

89        SHEBOYGAN PAINT COMPANY            Unsecured                                   $3,863.75           $0.00        3,863.75
610       PO BOX 417
          SHEBOYGAN, WI 53082
90U       NORTH CAROLINA DEPARTMENT OF       Unsecured                                  $16,431.74           $0.00       16,431.74
610       REVENUE
          ANGELA C FOUNTAIN BANKRUPTCY MANAGER,
          RALEIGH, NC 27602-1168

93        NMHG FINANCIAL SERVICES            Unsecured                                  $15,645.90           $0.00       15,645.90
610       1010 THOMAS EDISON BLVD DW
          CEDAR RAPIDS, IA 52404
94        BULLDOG NATIONAL LOGISTICS LLC     Unsecured                                   $2,225.00           $0.00        2,225.00
610       BULLDOG NATIONAL LOGISTIC
          PO 2641
          STOW, OH 44224

95        WARDLAW TRUCKING INC               Unsecured                                  $12,350.00           $0.00       12,350.00
610       PO BOX 5163
          ANDERSON, SC 29623-5163
96        SCREEN ART ADVERTISING INC         Unsecured                                   $3,449.02           $0.00        3,449.02
610       PO BOX 32121
          CHARLESTON, SC 29417-2121
98        BUDDY MOORE TRUCKING               Unsecured                                   $1,490.00           $0.00        1,490.00
610       PO BOX 10047
          BIRMINGHAM, AL 35202-0047
99        PIEDMONT FORKLIFT INC              Unsecured                                   $5,359.34           $0.00        5,359.34
610       PO BOX 16328
          GREENVILLE, SC 29606-7328
100U      PPG ARCHITECTURAL FINISHES INC     Unsecured                                  $29,352.95           $0.00       29,352.95
610       1595 EAST SAN BERNARDINO AVE
          SAN BERNARDINO, CA 92408-2946

101U      ARIZONIA DEPT OF REVENUE           Unsecured                                  $21,591.32           $0.00       21,591.32
610       COLLECTIONS DIVISION
          1600 WEST MONROE ST
          PHOENIX, AR 85007
102       AMERICAN EAGLE STEEL CORP          Unsecured                                  $61,782.74           $0.00       61,782.74
610       PO BOX 1159
          PONTE VEDRA BEACH, FL 32004
103       ALLEN BROWNING                     Unsecured                                    $550.00            $0.00          550.00
610       BROWNING TRUCKING SERVICE LLC
          307 MEADOW RIDGE DR
          SALEM, SC 29676
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104U-3    INTERNAL REVENUE SERVICE              Unsecured                                    $890.95            $0.00          890.95
610       MDP 39
          1835 ASSEMBLY ST RM 469
          COLUMBIA, SC 29201

105U      Florida Department of Revenue         Unsecured                                   $1,663.03           $0.00        1,663.03
610       Attention Bankruptcy Section
          Post Office Box 6668
          Tallahassee, FL 32314-6668

107       FORT HILL NATURAL GAS                 Unsecured                                   $2,160.67           $0.00        2,160.67
610       PO BOX 189
          EASLEY, SC 29641-0189
108       EAGLE BRIDGES CO INC                  Unsecured                                   $3,528.75           $0.00        3,528.75
610       PO BOX 496
          BYRON, GA 31008-0496

109       4PLEX LOGISTICS LLC                   Unsecured                                  $20,463.10           $0.00       20,463.10
610       PO BOX 580
          FRUITLAND PARK, FL 34731-0580

110       STATE OF LOUISIANA                    Unsecured                                   $1,069.88           $0.00        1,069.88
610       LOUISIANA DEPT. OF REVENUE
          PO BOX 66658
          BATON ROUGE, LA 70896
114       FEDEX CUSTOMER INFORMATION            Unsecured                                    $429.38            $0.00          429.38
610       SERVICE
          AS ASSIGNEE OF FEDEX EXPRESS/FEDEX GROUN
          ATTN: RECOVERY/BANKRUPTCY,2005 CORPORATE
          MEMPHIS, TN 38132

115U      TENNESSEE DEPT OF REVENUE             Unsecured                                    $763.21            $0.00          763.21
610       c/o TN ATTORNEY GENERAL'S OFFICE
          BANKRUPTCY DIVISION,PO BOX 20207
          NASHVILLE, TN 37202-0207

116       AMERICAN JANITORIAL SUPPLY            Unsecured                                    $848.00            $0.00          848.00
610       PO BOX 878
          TOCCOA, GA 30577-1414

118       TOYOTALIFE OF ARIZONIA                Unsecured                                   $1,962.24           $0.00        1,962.24
610       PO BOX 710310
          SANTEE, CA 92072-0310

119       HARTFORD FIRE INSURANCE COMPANY       Unsecured                                  $23,902.64           $0.00       23,902.64
610       BANKRUPTCY UNIT T-1-55
          HARTFORD PLAZA
          HARTFORD, CT 06115

120       LAWSON STEEL INC                      Unsecured                                  $73,279.06           $0.00       73,279.06
610       PO BOX 78089
          MILWAUKEE, WI 53278-0089
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121       Sprint Bankruptcy                          Unsecured                                    $722.55            $0.00          722.55
610       P.O. Box 7949
          Overland Park, KS 66207-0949
122       CAR INDUSTIES OF GEORGIA II,LLC.           Unsecured                                    $192.50            $0.00          192.50
610       CONTAINER REPAIR SERVICE
          220 BRADY WALK
          LAWRENCEVILLE, GA 30045-8846
123       THE PERMITE CORPORATION                    Unsecured                                  $19,663.54           $0.00       19,663.54
610       5239 BRER RABBIT ROAD
          STONE MOUNTAIN, GA 30083-1387

124       Toyota Motor Credit Corp                   Unsecured                                  $18,955.93           $0.00       18,955.93
610       19001 S. Western Ave. WF-21
          Torrance, CA 90501
125       Toyota Motor Credit Corp                   Unsecured                                   $4,246.48           $0.00        4,246.48
610       19001 S. Western Ave. WF-21
          Torrance, CA 90501

126       Toyota Motor Credit Corp                   Unsecured                                  $36,591.77           $0.00       36,591.77
610       19001 S. Western Ave. WF-21
          Torrance, CA 90501

127       Toyota Motor Credit Corp                   Unsecured                                  $20,800.90           $0.00       20,800.90
610       19001 S. Western Ave. WF-21
          Torrance, CA 90501
128       SOUTHEAST INDUSTRIAL EQUIPMENT             Unsecured                                    $816.58            $0.00          816.58
610       PO BOX 39110
          CHARLOTTE, NC 28278
129       GREENVILLE OFFICE SUPPLY                   Unsecured                                   $1,588.86           $0.00        1,588.86
610       PO BOX 11783
          COLUMBIA, SC 29211-1783

130       Howard Steel Inc.                          Unsecured                                  $10,519.90           $0.00       10,519.90
610       c/o June K. Allison,Wishart Norris
          Henninger & Pittman,6832 Morrison Boulev
          Charlotte, NC 28211-3576

131       PRT                                        Unsecured                                  $73,996.98           $0.00       73,996.98
610       1742 ELMHURST ROAD
          ELK GROVE VILLAGE, IL 60007-5909

132       MID WEST MATERIALS, INC.                   Unsecured                                 $337,781.86           $0.00      337,781.86
610       PO BOX 345
          Perry, OH 44081-0345

134       FALVEY LINEN AND UNIFORM                   Unsecured                                       $0.00           $0.00            0.00
610       SUPPLY OFCT
          88 TOLLAND STREET
          EAST HARTORD, CT 06108-3437
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135       NUVOX COMMUNICATIONS                        Unsecured                                    $552.22            $0.00          552.22
610       2 NORTH MAIN STREET
          GREENVILLE, SC 29601
136       NUVOX COMMUNICATIONS                        Unsecured                                    $395.34            $0.00          395.34
610       2 NORTH MAIN STREET
          GREENVILLE, SC 29601
137       MKS SERVICES LLC                            Unsecured                                  $18,275.00           $0.00       18,275.00
610       18521 E QUEEN CREEK ROAD
          QUEEN CREEK, AZ 85242-5866
138       AIRGAS                                      Unsecured                                  $23,374.34           $0.00       23,374.34
610       PO BOX 94737
          CLEVELAND, OH 44101-4737
139       FERRELLGAS                                  Unsecured                                   $2,465.60           $0.00        2,465.60
610       ONE LIBERTY PLAZA
          MAIL DROP 40
          LIBERTY, MO 64068

140       COMEQ INC                                   Unsecured                                   $2,360.84           $0.00        2,360.84
610       PO BOX 207
          WHITE MARSH, MD 21162-0207

141U      State of Maine Bureau or Revenue Services   Unsecured                                    $177.00            $0.00          177.00
610       Compliance Division
          PO Box 9101
          Augusta, ME 04333-9101
142       SOULE BLAKE AND WECHSLER INC                Unsecured                                  $12,377.14           $0.00       12,377.14
610       PO BOX 113196
          STAMFORD, CT 06911-3196
143       Grinding, Equipment, & Tooling, Inc.        Unsecured                                   $4,733.00           $0.00        4,733.00
610       P.O. Box 185
          WENTWORTH, NC 27375
144U      INTERNAL REVENUE SERVICE                    Unsecured                                    $890.95            $0.00          890.95
610       MDP 39
          1835 ASSEMBLY ST RM 469
          COLUMBIA, SC 29201

145U      South Carolina Department of Reveune        Unsecured                                   $1,503.12           $0.00        1,503.12
610       PO Box 12265
          Columbia, SC 29211
146U      FASTENAL COMPANY                            Unsecured                                  $12,456.05           $0.00       12,456.05
610       ATTN LEGAL
          PO BOX 978
          WINONA, MN 55987-0978

147       TIM GENTRY                                  Unsecured                                      $0.00            $0.00            0.00
610       201 LAUREL RD
          EASLEY, SC 29642
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                                                            EXHIBIT C
                                                     ANALYSIS OF CLAIMS REGISTER                       Claims Bar Date: April 28, 2008

Case Number: 07-04276-JW                                                Page: 15                                   Date: December 13, 2010
Debtor Name: RJM WASTE EQUIPMENT COMPANY                                                                           Time: 05:12:43 PM
Claim #   Creditor Name & Address                          Claim Type   Claim Ref. No. / Notes   Amount Allowed     Paid to Date   Claim Balance

148       Greater Bay Capital, a division of Greater Bay   Unsecured                                 $102,597.30           $0.00      102,597.30
610       Ban
          300 Tri-State International, Ste. 400
          Lincolnshire, IL 60069-4417
150       ADVANCE STEEL CO                                 Unsecured                                  $68,123.25           $0.00       68,123.25
610       16250 NORTHLAND DRIVE
          SUITE 325
          SOUTHFIELD, MI 48075-5219
151       VORTEX INDUSTRIES INC                            Unsecured                                   $1,734.77           $0.00        1,734.77
610       3198 M AIRPORT LOOP
          COSTA MESA, CA 92626-3413

152       PRIMARY STEEL TULARE DIVISION                    Unsecured                                  $19,517.26           $0.00       19,517.26
610       FILE NO 74034
          PO BOX 60000
          SAN FRANCISCO, CA 94160-0002

153       WAUSAU BUSINESS INSURANCE                        Unsecured                                       $0.00           $0.00            0.00
610       COMPANY
          WAUSAU INSURANCE COMPANIES
          PO BOX 8017
          WAUSAU, WI 54402-8017
154       CERTIFIED STEEL COMPANY                          Unsecured                                 $287,175.56           $0.00      287,175.56
610       DIVISION OF SHERWOOD INDUSTRIES INC,
          LAWRENCEVILLE, NJ 08648
155       FW INVESTMENTS                                   Unsecured                                 $118,514.08           $0.00      118,514.08
610       C/O ED FOCHTMAN
          5345 N 46TH STREET
          PHOENIX, AZ 85018-1732
156U      GEORGIA, DEPARTMENT OF REVENUE                   Unsecured                                  $22,064.12           $0.00       22,064.12
610       COMPLIANCE DIV-BANKRUPTCY SECT
          PO BOX 161108
          ATLANTA, GA 30321-1108

157       SUMMIT HANDLING SYSTEMS INC                      Unsecured                                    $410.06            $0.00          410.06
610       11 DEFCO PARK ROAD
          NORTH HAVEN, CT 06473-1126

158       EASTERN CHEM-LAC CORPORATION                     Unsecured                                  $46,084.46           $0.00       46,084.46
610       1100 EASTERN AVENUE
          MALDEN, MA 02148

159       VALLEY GAS AND GEAR LLC                          Unsecured                                  $32,374.69           $0.00       32,374.69
610       5344 W MISSOURI AVENUE
          GLENDALE, AZ 85301-6006

160       TRANS-SYSTEM LOGISTICS LLC                       Unsecured                                   $2,950.00           $0.00        2,950.00
610       PO BOX 3456
          SPOKANE, WA 99220-3456
             Case 07-04276-jw          Doc 278    Filed 12/17/10 Entered 12/17/10 15:20:09             Desc Main
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                                                 EXHIBIT C
                                          ANALYSIS OF CLAIMS REGISTER                    Claims Bar Date: April 28, 2008

Case Number: 07-04276-JW                                  Page: 16                                   Date: December 13, 2010
Debtor Name: RJM WASTE EQUIPMENT COMPANY                                                             Time: 05:12:43 PM
Claim #   Creditor Name & Address            Claim Type   Claim Ref. No. / Notes   Amount Allowed     Paid to Date   Claim Balance

161       KEY EQUIPMENT FINANCE              Unsecured                                 $125,934.23           $0.00      125,934.23
610       1000 SOUTH MCCASLIN BOULEVARD
          SUPERIOR, CO 80027
162       GRIFFIN AND GORDON CONTAINERS      Unsecured                                 $202,517.65           $0.00      202,517.65
610       COMPANY LLC
          PO BOX 1306
          CONOVER, NC 28613-1306
163       MID AMERICAN STEEL                 Unsecured                                 $110,825.37           $0.00      110,825.37
610       20900 ST CLAIR AVENUE
          CLEVELAND, OH 44117-1020
165       MCNAUGHTON MCKAY                   Unsecured                                  $44,819.98           $0.00       44,819.98
610       PO BOX 890976
          CHARLOTTE, NC 28289-0976
166       GENERAL TRANSPORTATION SERV IN     Unsecured                                   $8,500.00           $0.00        8,500.00
610       PO BOX 3853
          PORTLAND, OR 97208-3853
167       ANDERSON TRANS AND LOGISTICS       Unsecured                                  $28,125.20           $0.00       28,125.20
610       3300-D NORTH MAIN STREET
          PMB 343
          ANDERSON, SC 29621-4128

169       ULINE                              Unsecured                                    $356.54            $0.00          356.54
610       2200 S LAKESIDE DR
          WAUKEGAN, IL 60085-8311
170       SOUTH ATLANTIC STEEL INC           Unsecured                                  $15,934.27           $0.00       15,934.27
610       5862 FARINGDON PL STE 2
          RALEIGH, NC 27609-3931
171       CONNECTICUT DEPARTMENT OF          Unsecured                                 $123,672.68           $0.00      123,672.68
610       REVENUE SERVICES
          C&E DIVISION BANKRUPTCY SECTION
          25 Sigourney Street
          Hartford, CT 06106-5032
172       RAMSEY WELDING SUPPLY INC          Unsecured                                   $2,525.36           $0.00        2,525.36
610       6805 N 55TH AVENUE
          GLENDALE, AZ 85301-3303

173       ROSENBOOM MACHINE AND TOOL         Unsecured                                  $22,896.72           $0.00       22,896.72
610       PO BOX 408
          BOWLING GREEN, OH 43402-0408

174       USS HOLDINGS LLC                   Unsecured                                   $1,156.21           $0.00        1,156.21
610       110 LAURENS ROAD
          GREENVILLE, SC 29607-1826

175       RDJ SERVICES INC                   Unsecured                                    $650.00            $0.00          650.00
610       4471 WEST BRIDGESTONE DR
          CEDAR HILLS, UT 84062-7723
               Case 07-04276-jw              Doc 278    Filed 12/17/10 Entered 12/17/10 15:20:09             Desc Main
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                                                       EXHIBIT C
                                                ANALYSIS OF CLAIMS REGISTER                    Claims Bar Date: April 28, 2008

Case Number: 07-04276-JW                                        Page: 17                                   Date: December 13, 2010
Debtor Name: RJM WASTE EQUIPMENT COMPANY                                                                   Time: 05:12:43 PM
Claim #   Creditor Name & Address                  Claim Type   Claim Ref. No. / Notes   Amount Allowed     Paid to Date   Claim Balance

176       COMBINED UTILITIES                       Unsecured                                   $2,294.91           $0.00         2,294.91
610       PO BOX 619
          EASLEY, SC 29641-0619
178       HODGE PRODUCTS INC                       Unsecured                                   $5,718.95           $0.00         5,718.95
610       PO BOX 1326
          EL CAJON, CA 92022-1326
179       STATE OF ALABAMA                         Unsecured                                       $0.00           $0.00             0.00
610       DEPARTMENT OF REVENUE
          LEGAL SERVICES,PO BOX 320001
          MONTGOMERY, AL 36132-0001

180       CITY OF TEMPE                            Unsecured                                  $47,664.62           $0.00        47,664.62
610       TAX AND LICENSE OFFICE
          PO BOX 29618
          TEMPE, AZ 85038-9618

181       MYLES TRUCKING INC                       Unsecured                                   $2,500.00           $0.00         2,500.00
610       3005 EMERALD SPRINGS DR
          LAWRENCEVILLE, GA 30045-7221

182       GEORGE B CHANDLER                        Unsecured                                       $0.00           $0.00             0.00
610       212 LATHAM TERRACE
          EASLEY, SC 29640
183       CHARLES CLARK                            Unsecured                                  $10,000.00           $0.00        10,000.00
610       18 FOSTER AVENUE
          EASLEY, SC 29642
184       ALLEN-ORTON LLC                          Unsecured                                   $9,478.66           $0.00         9,478.66
610       PO BOX 102643
          ATLANTA, GA 30368-2643
185       MACSTEEL SERVICE CENTERS                 Unsecured                                  $16,149.31           $0.00        16,149.31
610       ATTN TIM AUSTIN
          PO BOX 164-67
          CHARLOTTE, NC 28297-6467

186       CASA FIRE PROTECTION INC                 Unsecured                                     $210.53           $0.00          210.53
610       723 E University Drive
          Mesa, AZ 85203-7928

187U      Mississippi State Tax Commission         Unsecured                                   $4,721.00           $0.00         4,721.00
610       Bankruptcy Section
          Post Office Box 22808
          Jackson, MS 39225-2808

<< Totals >>                                                                                5,048,302.73            0.00     5,048,302.73
  Case 07-04276-jw        Doc 278      Filed 12/17/10 Entered 12/17/10 15:20:09                 Desc Main
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                             TRUSTEE'S PROPOSED DISTRIBUTION

                                                                                                   Exhibit D

         Case No.: 07-04276-JW
         Case Name: RJM WASTE EQUIPMENT COMPANY
         Trustee Name: JOHN K FORT
                                            Balance on hand:                         $           49,004.73
          Claims of secured creditors will be paid as follows:

Claim      Claimant                              Claim Allowed Amount Interim Payments             Proposed
No.                                            Asserted       of Claim          to Date            Payment
  1       GMAC                                 4,333.69               0.00               0.00           0.00
  2       Carolina First Bank                  7,652.13               0.00               0.00           0.00
 15S-2    Kentucky Department of               1,053.94               0.00               0.00           0.00
          Revenue
 42       GENERAL PURPOSE                      7,696.84               0.00               0.00           0.00
          STEEL INC
 48       COMMUNITY SOUTH                    142,110.24               0.00               0.00           0.00
          BK AND TRUST
 85       Toyota Motor Credit Corp            52,418.34               0.00               0.00           0.00
 92       NMHG FINANCIAL                      15,609.52               0.00               0.00           0.00
          SERVICES
 97       Appalachian Development             58,675.53               0.00               0.00           0.00
          Corporation
 106      Financial Federal Credit Inc.       53,168.88               0.00               0.00           0.00
 117      FORT HILL NATURAL                    5,391.27               0.00               0.00           0.00
          GAS
 145S     South Carolina Department            1,209.99               0.00               0.00           0.00
          of Reveune
 149      Wachovia Bank, N.A.              1,337,253.66               0.00               0.00           0.00
 164      FORREST ANDERSON                       981.00               0.00               0.00           0.00
          PLUMBING
 187S     Mississippi State Tax                7,168.00               0.00               0.00           0.00
          Commission
                                            Total to be paid to secured creditors:   $                0.00
                                            Remaining balance:                       $           49,004.73




  UST Form 101-7-TFR (10/1/2010)
    Case 07-04276-jw           Doc 278        Filed 12/17/10      Entered 12/17/10 15:20:09            Desc Main
                                           Document
               Applications for chapter 7 fees              Pageexpenses
                                               and administrative 42 of 49
                                                                         have been filed as follows:
Reason/Applicant                                               Total Requested Interim Payments          Proposed
                                                                                         to Date         Payment
Trustee, Fees - JOHN K FORT                                             5,628.25                0.00          5,628.25
Trustee, Expenses - JOHN K FORT                                         1,054.01                0.00          1,054.01
Accountant for Trustee, Fees - MCABEE, TALBERT,                         1,080.00                0.00          1,080.00
HALLIDAY & CO
Fees, United States Trustee                                             5,000.00                0.00          5,000.00
Other Expenses: RONALD J MCCRACKEN                                   201,000.00                 0.00      36,242.47
                              Total to be paid for chapter 7 administration expenses:       $           49,004.73
                              Remaining balance:                                            $                0.00

                Applications for prior chapter fees and administrative expenses have been filed as follows:
Reason/Applicant                                               Total Requested Interim Payments          Proposed
                                                                                         to Date         Payment
Attorney for D-I-P Fees - G. WILLIAM MCCARTHY, JR                     36,916.25                 0.00              0.00
Attorney for D-I-P Expenses - G. WILLIAM MCCARTHY,                      1,810.32                0.00              0.00
JR
Other Expenses: ARIZONA LOGISTICS, INC                                  6,731.35                0.00              0.00
Other Expenses: CHUCK DAVIS                                             8,900.80                0.00              0.00
Other Expenses: FW INVESTMENTS                                        75,129.12                 0.00              0.00
Other Expenses: GEORGE B. CHANDLER, JR                                  3,000.00                0.00              0.00
Other Expenses: MISSISSIPPI STATE TAX                                 10,440.00                 0.00              0.00
COMMISSION
                              Total to be paid for prior chapter administrative expenses:   $                  0.00
                              Remaining balance:                                            $                  0.00

               In addition to the expenses of administration listed above as may be allowed by the
         Court, priority claims totaling $784,271.99 must be paid in advance of any dividend to
         general (unsecured) creditors.
               Allowed priority claims are:
Claim           Claimant                                       Allowed Amount Interim Payments            Proposed
No                                                                    of Claim          to Date           Payment
   10           CITY OF MONTGOMERY                                        967.72                0.00              0.00
   15P-2        Kentucky Department of Revenue                          3,442.88                0.00              0.00
   52           CITY OF TEMPLE, ARIZONA                               35,700.54                 0.00              0.00
   77P-2        SMITH PIPE & STEEL COMPANY                           223,434.98                 0.00              0.00
   80P          CHUCK DAVIS                                             9,902.40                0.00              0.00
   90P          NORTH CAROLINA DEPARTMENT OF                          18,009.11                 0.00              0.00
                REVENUE

   UST Form 101-7-TFR (10/1/2010)
 91Case 07-04276-jw  DocROUGE
          CITY OF BATON  278 Filed 12/17/10                     Entered  12/17/10 15:20:09
                                                                     8,916.00          0.00             Desc Main
                                                                                                               0.00
                                           Document          Page 43 of 49
 100P          PPG ARCHITECTURAL FINISHES INC                          25,179.92                 0.00               0.00
 101P          ARIZONIA DEPT OF REVENUE                              153,678.51                  0.00               0.00
 104P-3        INTERNAL REVENUE SERVICE                                 6,698.56                 0.00               0.00
 105P          Florida Department of Revenue                           12,598.44                 0.00               0.00
 111           STATE OF ALABAMA                                         1,703.86                 0.00               0.00
 112           STATE OF ALABAMA                                           110.14                 0.00               0.00
 113           STATE OF ALABAMA                                         1,569.29                 0.00               0.00
 115P          TENNESSEE DEPT OF REVENUE                                6,435.71                 0.00               0.00
 133           CITY OF MOBILE                                           2,578.97                 0.00               0.00
 141P          State of Maine Bureau or Revenue Services                1,076.85                 0.00               0.00
 144P          INTERNAL REVENUE SERVICE                              101,809.56                  0.00               0.00
 145P          South Carolina Department of Reveune                    22,174.49                 0.00               0.00
 146P          FASTENAL COMPANY                                         4,780.56                 0.00               0.00
 156P          GEORGIA, DEPARTMENT OF REVENUE                        122,513.05                  0.00               0.00
 168           BALANCE STAFFING SVC INC                                 7,990.45                 0.00               0.00
 187P          Mississippi State Tax Commission                        13,000.00                 0.00               0.00
                                                  Total to be paid for priority claims:      $                    0.00
                                                  Remaining balance:                         $                    0.00
              The actual distribution to wage claimants included above, if any, will be the proposed
        payment less applicable withholding taxes (which will be remitted to the appropriate taxing
        authorities).

            Timely claims of general (unsecured) creditors totaling $ 3,907,340.64 have been allowed and
        will be paid pro rata only after all allowed administrative and priority claims have been paid in full.
        The timely allowed general (unsecured) dividend is anticipated to be 0.0 percent,
        plus interest (if applicable).
              Timely allowed general (unsecured) claims are as follows:
Claim          Claimant                                        Allowed Amount Interim Payments             Proposed
No                                                                    of Claim          to Date            Payment
  3            56 INDUSTRIES INC/Kerry Steel Inc                     511,888.87                  0.00               0.00
  4            PRECISION METAL FABRICATORS                                332.50                 0.00               0.00
  5            SAFETY SUPPLY SOUTH INC                                     52.63                 0.00               0.00
  6            GENERAL TRANSPORTATION SERV IN                           8,500.00                 0.00               0.00
  7            PALMETTO STATE LOGISTICS INC                             1,506.24                 0.00               0.00
  8            BESL TRANSFER COMPANY                                    4,470.20                 0.00               0.00
  9            SPARTAN FILTERING SYSTEMS                                4,548.00                 0.00               0.00
 11            METRO ANESTHESIA CONSULTANTS                               900.00                 0.00               0.00
 12            SOUTHEASTERN DOCK AND DOOR                                 750.00                 0.00               0.00

  UST Form 101-7-TFR (10/1/2010)
13Case 07-04276-jw Doc 278
         GOSNELL MENARD     FiledCPA'S
                         BROOKS   12/17/10     Entered  12/17/10 15:20:09
                                                   21,600.00          0.00   Desc Main
                                                                                    0.00
                                 Document   Page 44 of 49
14       JC PACIFIC CO INC                         12,658.50          0.00          0.00
15U-2    Kentucky Department of Revenue               380.14          0.00          0.00
16       XO COMMUNICATIONS INC                      1,890.72          0.00          0.00
17       HEALTHPOINT OF NORTH CAROLINA              1,601.71          0.00          0.00
18       NU-LIFE ENVIRONMENTAL INC                 71,729.16          0.00          0.00
19       DESTINATIONS EXPRESS INC                       0.00          0.00          0.00
20       The Mason and Dixon Lines                 22,411.00          0.00          0.00
21       ULINE                                        356.54          0.00          0.00
22       SHEBOYGAN PAINT COMPANY                      689.21          0.00          0.00
23       ROSENBOOM MACHINE AND TOOL                22,896.72          0.00          0.00
24       R AND L CARRIERS INC                       6,617.36          0.00          0.00
25       RIGGERS SERVICE INC                        3,019.00          0.00          0.00
26       CENTENNIAL STEEL                          40,826.58          0.00          0.00
27       JLT ENTERPRISES INC                       17,338.00          0.00          0.00
28       ANDERSON TRANS AND LOGISTICS              28,125.20          0.00          0.00
29       MOORE TRANSPORTATION INC                   5,965.00          0.00          0.00
30       PAULS TEMPE HARDWARE                       1,022.39          0.00          0.00
31       CROSS COMPANY                             11,987.02          0.00          0.00
32       MCNAUGHTON MCKAY                          44,819.98          0.00          0.00
33       UNITED ELECTRIC CONTROLS CO                2,445.59          0.00          0.00
34       CHEETAH TRANSPORTATION                     1,118.00          0.00          0.00
35       ADVANCED RIGGING AND MACH                  1,900.00          0.00          0.00
36       ESTES EXPRESS LINES                          263.71          0.00          0.00
37       MAGNELINK INC                              2,305.00          0.00          0.00
38       WELCO INC                                  1,288.00          0.00          0.00
39       RDJ SERVICES INC                             650.00          0.00          0.00
40 -2    STRATFORD TRANSPORTATION                   1,974.81          0.00          0.00
41       AUSTIN HARDWARE AND SUPPLY                   439.12          0.00          0.00
43       Universal Am-Can Ltd                         750.00          0.00          0.00
44       MESA MACHINERY SALES LLC                     159.59          0.00          0.00
45       COFFEY AND SONS INC                        1,775.00          0.00          0.00
46       ALLEN-ORTON LLC                            8,640.76          0.00          0.00
47       M-COR STEEL INC                          194,282.57          0.00          0.00
49       COMBINED UTILITIES                         2,794.91          0.00          0.00
50       DISCOUNT SWEEPING                          1,011.00          0.00          0.00


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51Case 07-04276-jw
         BEELINE INCDoc 278       Filed 12/17/10 Entered   12/17/10 15:20:09
                                                        625.00           0.00   Desc Main
                                                                                       0.00
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53       RAMSEUR TRUCKING                             28,903.00          0.00          0.00
54       HYDRAULIC AND PNEUMATIC                       4,208.27          0.00          0.00
55       AQUA CHILL INC NO 4                             227.01          0.00          0.00
56       WOLF TECHNOLOGY GROUP                           367.50          0.00          0.00
57       DIPPLE PLUMBING INC                             300.68          0.00          0.00
58       PRECISION METAL FABRICATORS                     332.50          0.00          0.00
59       AURORA MANAGEMENT PARTNERS                   19,397.15          0.00          0.00
60       THOM MARTIN                                   3,421.09          0.00          0.00
61       RELIANCE STEEL AND ALUMINUM                  41,503.03          0.00          0.00
62       ROYAL INDEMNITY CO                           44,587.13          0.00          0.00
63       WESTERN EXPRESS INC                           8,475.00          0.00          0.00
64       BDI                                           3,365.55          0.00          0.00
65       RAMSEY WELDING SUPPLY INC                     2,525.36          0.00          0.00
66       EMS INC                                      61,826.88          0.00          0.00
67       THE CONNECTICUT LIGHT AND                       300.00          0.00          0.00
         POWER COMPANY
68       CONTAINER COMPONENTS INC                     49,578.88          0.00          0.00
69       ALG LABELS AND GRAPHICS                         130.45          0.00          0.00
70       GREATAMERICA LEASING                          7,052.66          0.00          0.00
         CORPORATION
71       FACILITY SUPPORT SERVICES LLC                 4,502.33          0.00          0.00
72       GLOBENET METALS LLC                          44,376.06          0.00          0.00
73       FALVEY LINEN AND UNIFORM                          0.00          0.00          0.00
74       ELECTRICAL WHOLESALERS INC                    1,487.26          0.00          0.00
75       FALVEY LINEN AND UNIFORM                        494.54          0.00          0.00
76       BALANCE STAFFING SVC INC                          0.00          0.00          0.00
77U-2    SMITH PIPE & STEEL COMPANY                   23,702.04          0.00          0.00
78       SOUTHERN METALS                              20,063.04          0.00          0.00
79       MARION DAVIS INC                              2,836.20          0.00          0.00
81       JSJ LLC                                       1,692.87          0.00          0.00
82       HANDLING SYSTEMS INC                         15,173.00          0.00          0.00
83       SOUTH ATLANTIC STEEL INC                     15,934.27          0.00          0.00
84       NAMASCO                                      12,209.15          0.00          0.00
86       AUSTIN HARDWARE AND SUPPLY                      439.12          0.00          0.00
87       USS HOLDINGS LLC                              1,784.72          0.00          0.00
88       MACSTEEL SERVICE CENTERS                     16,149.31          0.00          0.00

UST Form 101-7-TFR (10/1/2010)
89Case 07-04276-jw
         SHEBOYGANDoc  278
                   PAINT   Filed 12/17/10
                         COMPANY                  Entered  12/17/10 15:20:09
                                                       3,863.75          0.00   Desc Main
                                                                                       0.00
                                    Document   Page 46 of 49
90U      NORTH CAROLINA DEPARTMENT OF                 16,431.74          0.00          0.00
         REVENUE
93       NMHG FINANCIAL SERVICES                      15,645.90          0.00          0.00
94       BULLDOG NATIONAL LOGISTICS LLC                2,225.00          0.00          0.00
95       WARDLAW TRUCKING INC                         12,350.00          0.00          0.00
96       SCREEN ART ADVERTISING INC                    3,449.02          0.00          0.00
98       BUDDY MOORE TRUCKING                          1,490.00          0.00          0.00
99       PIEDMONT FORKLIFT INC                         5,359.34          0.00          0.00
100U     PPG ARCHITECTURAL FINISHES INC               29,352.95          0.00          0.00
101U     ARIZONIA DEPT OF REVENUE                     21,591.32          0.00          0.00
102      AMERICAN EAGLE STEEL CORP                    61,782.74          0.00          0.00
103      ALLEN BROWNING                                  550.00          0.00          0.00
104U-3   INTERNAL REVENUE SERVICE                        890.95          0.00          0.00
105U     Florida Department of Revenue                 1,663.03          0.00          0.00
107      FORT HILL NATURAL GAS                         2,160.67          0.00          0.00
108      EAGLE BRIDGES CO INC                          3,528.75          0.00          0.00
109      4PLEX LOGISTICS LLC                          20,463.10          0.00          0.00
110      STATE OF LOUISIANA                            1,069.88          0.00          0.00
114      FEDEX CUSTOMER INFORMATION                      429.38          0.00          0.00
         SERVICE
115U     TENNESSEE DEPT OF REVENUE                       763.21          0.00          0.00
116      AMERICAN JANITORIAL SUPPLY                      848.00          0.00          0.00
118      TOYOTALIFE OF ARIZONIA                        1,962.24          0.00          0.00
119      HARTFORD FIRE INSURANCE                      23,902.64          0.00          0.00
         COMPANY
120      LAWSON STEEL INC                             73,279.06          0.00          0.00
121      Sprint Bankruptcy                               722.55          0.00          0.00
122      CAR INDUSTIES OF GEORGIA II,LLC.                192.50          0.00          0.00
123      THE PERMITE CORPORATION                      19,663.54          0.00          0.00
124      Toyota Motor Credit Corp                     18,955.93          0.00          0.00
125      Toyota Motor Credit Corp                      4,246.48          0.00          0.00
126      Toyota Motor Credit Corp                     36,591.77          0.00          0.00
127      Toyota Motor Credit Corp                     20,800.90          0.00          0.00
128      SOUTHEAST INDUSTRIAL EQUIPMENT                  816.58          0.00          0.00
129      GREENVILLE OFFICE SUPPLY                      1,588.86          0.00          0.00
130      Howard Steel Inc.                            10,519.90          0.00          0.00

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131      PRT            Doc 278      Filed 12/17/10 Entered   12/17/10 15:20:09
                                                         73,996.98          0.00   Desc Main
                                                                                          0.00
                                    Document      Page 47 of 49
132      MID WEST MATERIALS, INC.                       337,781.86          0.00          0.00
134      FALVEY LINEN AND UNIFORM                             0.00          0.00          0.00
135      NUVOX COMMUNICATIONS                               552.22          0.00          0.00
136      NUVOX COMMUNICATIONS                               395.34          0.00          0.00
137      MKS SERVICES LLC                                18,275.00          0.00          0.00
138      AIRGAS                                          23,374.34          0.00          0.00
139      FERRELLGAS                                       2,465.60          0.00          0.00
140      COMEQ INC                                        2,360.84          0.00          0.00
141U     State of Maine Bureau or Revenue Services          177.00          0.00          0.00
142      SOULE BLAKE AND WECHSLER INC                    12,377.14          0.00          0.00
143      Grinding, Equipment, & Tooling, Inc.             4,733.00          0.00          0.00
144U     INTERNAL REVENUE SERVICE                           890.95          0.00          0.00
145U     South Carolina Department of Reveune             1,503.12          0.00          0.00
146U     FASTENAL COMPANY                                12,456.05          0.00          0.00
147      TIM GENTRY                                           0.00          0.00          0.00
148      Greater Bay Capital, a division of Greater     102,597.30          0.00          0.00
         Bay Ban
150      ADVANCE STEEL CO                                68,123.25          0.00          0.00
151      VORTEX INDUSTRIES INC                            1,734.77          0.00          0.00
152      PRIMARY STEEL TULARE DIVISION                   19,517.26          0.00          0.00
153      WAUSAU BUSINESS INSURANCE                            0.00          0.00          0.00
         COMPANY
154      CERTIFIED STEEL COMPANY                        287,175.56          0.00          0.00
155      FW INVESTMENTS                                 118,514.08          0.00          0.00
156U     GEORGIA, DEPARTMENT OF REVENUE                  22,064.12          0.00          0.00
157      SUMMIT HANDLING SYSTEMS INC                        410.06          0.00          0.00
158      EASTERN CHEM-LAC CORPORATION                    46,084.46          0.00          0.00
159      VALLEY GAS AND GEAR LLC                         32,374.69          0.00          0.00
160      TRANS-SYSTEM LOGISTICS LLC                       2,950.00          0.00          0.00
161      KEY EQUIPMENT FINANCE                          125,934.23          0.00          0.00
162      GRIFFIN AND GORDON CONTAINERS                  202,517.65          0.00          0.00
         COMPANY LLC
163      MID AMERICAN STEEL                             110,825.37          0.00          0.00
165      MCNAUGHTON MCKAY                                44,819.98          0.00          0.00
166      GENERAL TRANSPORTATION SERV IN                   8,500.00          0.00          0.00
167      ANDERSON TRANS AND LOGISTICS                    28,125.20          0.00          0.00

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 169      ULINE                Doc 278      Filed 12/17/10 Entered   12/17/10 15:20:09
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                                                                                                              0.00
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 170           SOUTH ATLANTIC STEEL INC                               15,934.27                 0.00              0.00
 171           CONNECTICUT DEPARTMENT OF                             123,672.68                 0.00              0.00
               REVENUE SERVICES
 172           RAMSEY WELDING SUPPLY INC                                  2,525.36              0.00              0.00
 173           ROSENBOOM MACHINE AND TOOL                             22,896.72                 0.00              0.00
 174           USS HOLDINGS LLC                                           1,156.21              0.00              0.00
 175           RDJ SERVICES INC                                            650.00               0.00              0.00
 176           COMBINED UTILITIES                                         2,294.91              0.00              0.00
 178           HODGE PRODUCTS INC                                         5,718.95              0.00              0.00
 179           STATE OF ALABAMA                                               0.00              0.00              0.00
 180           CITY OF TEMPE                                          47,664.62                 0.00              0.00
 181           MYLES TRUCKING INC                                         2,500.00              0.00              0.00
 182           GEORGE B CHANDLER                                              0.00              0.00              0.00
 183           CHARLES CLARK                                          10,000.00                 0.00              0.00
 184           ALLEN-ORTON LLC                                            9,478.66              0.00              0.00
 185           MACSTEEL SERVICE CENTERS                               16,149.31                 0.00              0.00
 186           CASA FIRE PROTECTION INC                                    210.53               0.00              0.00
 187U          Mississippi State Tax Commission                           4,721.00              0.00              0.00
                             Total to be paid for timely general unsecured claims:          $                  0.00
                             Remaining balance:                                             $                  0.00


            Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been
        allowed and will be paid pro rata only after all allowed administrative, priority and timely filed
        general (unsecured) claims have been paid in full. The tardily filed claim dividend is anticipated
        to be 0.0 percent, plus interest (if applicable).

               Tardily filed general (unsecured) claims are as follows:
Claim          Claimant                                        Allowed Amount Interim Payments               Proposed
No                                                                    of Claim          to Date              Payment
                                                        None
                             Total to be paid for tardy general unsecured claims:           $                  0.00
                             Remaining balance:                                             $                  0.00




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             Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
        ordered subordinated by the Court totaling $ 0.00 have been allowed and will be paid
        pro rata only after all allowed administrative, priority and general (unsecured) claims have been paid
        in full. The dividend for subordinated unsecured claims is anticipated to be 0.0 percent,
        plus interest (if applicable).
              Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
        ordered subordinated by the Court are as follows:
Claim          Claimant                                        Allowed Amount Interim Payments           Proposed
No                                                                    of Claim          to Date          Payment
                                                        None
                                                 Total to be paid for subordinated claims: $                 0.00
                                                 Remaining balance:                        $                 0.00




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